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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


   AMY MOORE, MIA LYTELL, NATASHA
   TAGAI, EMMA HOPPER, BRITTANY                             Case No.: 1:17-cv-06404
   HASSEN, and BRITTANY REYES,                              (BMC) (SMG)

                                Plaintiffs,
                                                            FOURTH AMENDED
                 – against –                                COMPLAINT

   HOWARD RUBIN and JENNIFER                                JURY TRIAL DEMANDED
   POWERS,

                                Defendants.



          Plaintiffs Amy Moore (“Moore”), Mia Lytell (“Lytell”), Stephanie Caldwell (“Caldwell”),

   Natasha Tagai (“Tagai”), Emma Hopper (“Hopper”), Brittany Hassen (“Hassen”), and Brittany

   Reyes (“Reyes”) by their attorneys, Balestriere Fariello, for their Complaint against Jennifer

   Powers (“Powers”), Howard Rubin (“Rubin”), and the Doe Company (the “Doe Company”)

   respectfully allege as follows, upon information and belief, except as to allegations concerning

   Plaintiffs, which are made upon personal knowledge, and except as otherwise indicated herein.
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                                      PRELIMINARY STATEMENT

          1.      Under the leadership of Howard Rubin, all Defendants have worked and conspired

   together in a human trafficking venture exploiting women from around the United States (the

   “Venture”), causing many millions of dollars in damages to dozens of women over the years.

          2.      Under the ruse of payments for supposed companionship and photo- shoots, Rubin

   and his associates have lied to Plaintiffs and dozens of others, luring them across the country to

   assault them as part of a pattern of criminal sexual misconduct including beatings to the point of

   unconsciousness and acts of rape. Rubin even tells victims of the scheme that he will rape them

   after they are tied down but before proceeding to do so—threatening one victim, “I’m going to

   rape you like I rape my daughter”—as well as assault them and imprison them against their will.

          3.      Defendants have through their sex trafficking scheme caused injuries so extreme

   that multiple women have needed cosmetic and dental reconstructive surgery, and all victims of

   the scheme have required hospitalization and experienced extreme emotional trauma.

          4.      Rubin and his associates’ misconduct even continued after Plaintiffs finally

   overcame their fear and engaged counsel. Rubin has directed his associates to undermine and

   interfere with Plaintiffs’ relationships with their counsel, to tamper with witnesses, and to even

   illegally hack into Plaintiffs’ computer systems in an apparent attempt to destroy evidence. Such

   hacking has continued even since the filing of the original pleading in this action.

                                      JURISDICTION AND VENUE

          5.      Venue is appropriate in the Eastern District of New York as the Plaintiffs were

   transported into and out of airports located in the Eastern District.

          6.      This Court also has subject matter jurisdiction over this action pursuant to 18 U.S.C.

   § 1595, which provides the district courts of the United States jurisdiction over violations of


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   18 U.S.C. § 1591.

          7.      This Court has supplemental jurisdiction over the remaining claims pursuant to 28

   U.S.C. § 1367(a), as those claims form part of the same case or controversy as the related federal

   claims over which this Court has original jurisdiction.

          8.      This Court has personal jurisdiction over the parties, as the actions that constitute

   the violations of 18 U.S.C. § 1591(a) were conducted in relation to the relationship between Lytell,

   Moore, Caldwell, Tagai, Hopper, Hassen, Reyes, Rubin, Shon, and Powers at the Venture’s chief

   crime location (the “Penthouse”), owned by Blue Icarus, at the Metropolitan Tower located on 146

   West 57th Street, 76th Floor, New York, New York in the Southern District of New York and the

   Plaintiffs were flown into and out of airports in the Eastern District of New York.

                                               PARTIES

                                                Plaintiffs

          9.      Plaintiff Lytell is an individual who is a model for Playboy Enterprises, Inc. Lytell

   resides in Fort Lauderdale, Florida.

          10.     Plaintiff Moore is an individual who is a model for Playboy Enterprises, Inc. Moore

   resides in Daytona Beach, Florida.

          11.     Plaintiff Caldwell is an individual who is a freelance model. Caldwell resides in

   Fort Lauderdale, Florida.

          12.     Plaintiff Tagai is an individual who is a model for Playboy Enterprises, Inc. Tagai

   resides in Chicago, Illinois.

          13.     Plaintiff Hopper is an individual who is a freelance model and student. Hopper

   resides in Atlanta, Georgia.

          14.     Plaintiff Hassen is an individual who was a Playboy model. Hassen resides in



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   Brooklyn, New York, but at the time of at least some of the conduct against her, she resided in Los

   Angeles, California.

          15.     Plaintiff Reyes is an individual who is a model. Reyes resides in Miami, Florida.

                                              Defendants

          16.     Howard Rubin is an experienced money manager with a highly regarded reputation

   in the financial field. Rubin also goes by Howie Rubin. At least one other member of the Venture,

   Shon, has referred to Rubin as the “boss.” Upon information and belief, Rubin is also the manager

   of the Doe Company. Rubin resides in New York, New York. Unless otherwise specified, every

   time that Rubin is alleged to have committed an action, that action was committed both in his

   individual capacity, and on behalf of the Doe Company.

          17.     Jennifer “Jenn” Powers is an individual who works with Rubin, and, upon

   information and belief, is an employee of the Doe Company. Powers herself admits to being

   Rubin’s “assistant.” Powers resides in New York, New York.

          18.     Upon information and belief, the Doe Company is located in New York, New York.

   The Doe Company is the vehicle through which the Venture operates, and through which Rubin

   pays his employees—like Powers and Shon—as well as the models he hires, including Plaintiffs

   Lytell, Moore, Caldwell, Tagai, Hopper, Hassen, and Reyes. Upon information and belief, the

   Venture paid Blue Icarus rent through the Doe Company.

                                     STATEMENT OF FACTS

                                          Rubin Background

          19.     Howie Rubin has worked in the financial industry for thirty-five years and has years

   of experience trading mortgage-backed securities.

          20.     Rubin was a chief mortgage-securities trader from 1985–1987 at Merrill Lynch and



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   was a Senior Managing Director at Bear Stearns Companies, Inc. from 1987– 1999.

           21.    Rubin also served as a Director of the Commercial Industrial Finance Corporation

   (also known as Deerfield Capital Corporation) from December 2004 until May 19, 2009.

           22.    From February 2007 to January 1, 2011, Rubin served as a Director of Fortress

   Investment Group, LLC.

           23.    Rubin served as a Director of New Media Investment Group, Inc. from October 24,

   2006, to December 18, 2008.

           24.    Rubin served as a Director of GateHouse Media, Inc. from October 2006 to

   December 2008.

           25.    He has also served as an Independent Director of Global Signal, Inc. since February

   2004.

      With the Assistance of An Attorney, Blue Icarus Rents the Penthouse to Serve as the
                                       Base for the Venture

           26.    Blue Icarus filed incorporation documents on November 30, 2010, and registered

   its address in New York to be located at 501 Madison Avenue, 14th Floor, 10022, the same address

   as Sanders Ortoli, LLP, now known as Ortoli Rosenstadt LLP.

           27.    On February 7, 2011, the deed for Block 01009 Lot 1060 and Lot 1104—the

   Penthouse—was signed by seller Sanchez, JR., A.R. c/o Oved & Oved LLP, and buyer Blue Icarus

   c/o Sanders Ortoli, LLP.

           28.    Blue Icarus’s Department of State (“DOS”) ID number is 4024393 and it has no

   registered agent.

           29.    Blue Icarus is aware of the Venture as well as the Venture’s purpose, and has

   benefitted financially by receiving monthly rent of $18,000 per month from Rubin because of Blue

   Icarus’s participation in Rubin’s sex trafficking venture.

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          30.     Indeed, representatives of Blue Icarus were present in the Penthouse on at least one

   occasion involving Plaintiffs. Rubin introduced the representatives of Blue Icarus to Plaintiff

   Hopper at the Penthouse in or around November 2016.

          31.     Blue Icarus was at least recklessly indifferent to the Venture and its acts as Blue

   Icarus failed to inquire following separate incidents at the Penthouse where an ambulance was

   called on one occasion and police were called on a separate occasion.

          32.     Blue Icarus has given Rubin and the Venture access to the Penthouse and is aware

   that Rubin does not live at the Penthouse as Rubin has a primary residence, with his family, within

   walking distance of the Penthouse.

          33.     Blue Icarus is aware of how Rubin and the Venture utilize the Penthouse.

          34.     Blue Icarus’s Penthouse has a built-in “dungeon,” designed solely for the purposes

   of the Venture, which contains devices and other BDSM-type instruments designed solely to harm

   victims.

                                         The Venture

          35.     Defendants conspired to form the Venture in or around February 2011, at the latest,

   when Rubin rented the Penthouse from Blue Icarus, Powers and Shon began to actively recruit

   women for transportation to the Penthouse, and, upon information and belief, an attorney of

   Rubin’s provided Rubin and his associates with the non-disclosure agreements (the “NDAs”).In

   fact, Powers, at the direction of Rubin, has tried to contact at least Plaintiff Hopper in furtherance

   of the improper objectives of the Venture as recently as February 7, 2018, less than two weeks

   before the filing of the Amended Complaint.

          36.     At least Rubin, Powers, and the Doe Company worked together to pay and transport

   women to New York to serve as companions and entertainment for Rubin and, at times, his



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   associates. In exchange, many of these women expected that Rubin could help with their careers

   or otherwise supplement their income.

           37.     The Venture did not reveal to Plaintiffs the other, improper, objective of the

   Venture: to cover up Rubin’s sexual misconduct and criminal abuse of the women, and to serve as

   a cover for his wide-ranging human trafficking scheme.

           38.     However, some form of the Venture has been in existence for decades, likely with

   members beyond the current Defendants.

           39.     Rubin is the head or, as Shon referred to him, the “boss” of the Venture.

   Individually or through his company, the Doe Company, Rubin pays each member of the Venture

   for their services.

           40.     Powers, Rubin’s admitted “assistant,” participated in the direction of the Venture

   by working directly below Rubin. Powers is not only responsible for recruiting, transporting, and

   paying the Venture’s victims directly through her personal PayPal account, but is the Venture’s

   primary “fixer,” coming in to cover up any injuries sustained by the women as a result of the

   Venture’s crimes, as well as to prevent and even bribe the Venture’s victims who threaten to go

   public with the Venture’s crimes. Powers is paid for her services by Rubin individually or by the

   Doe Company.

           41.     Shon works below both Rubin and Powers. Shon participated in the direction or

   conduct of the affairs of the Venture by recruiting women for the Venture and making those women

   feel comfortable before Rubin forces them to engage in commercial sex acts to which the women

   never agreed. Shon was frequently the first point of contact for Plaintiffs and the Venture’s other

   victims, introducing them to Rubin and the Venture. Shon is paid for her services by Rubin

   individually or by the Doe Company.



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          42.     There are multiple other women who have held and/or currently hold the same

   position as Shon and are also members of the Venture. These women include at least the

   unidentified female representative who initially contacted Plaintiff Tagai through the Model

   Mayhem website, a woman named “Tracy” who contacted Plaintiff Hassen on the Venture’s

   behalf, and a woman named Taren Cassidy who contacted Plaintiff Reyes on the Venture’s behalf.

   These women are also paid for their services by Rubin individually or by the Doe Company.

          43.     For the past six years, Blue Icarus has participated in the direction or conduct of the

   affairs of the Venture by providing the space in which the Venture harbors its victims, knowing or

   acting in reckless disregard of the fact that means of force and coercion would be used to cause

   women to engage in commercial sex acts. Rubin, either personally or through the Doe Company,

   paid Blue Icarus monthly rent of $18,000 from at least February 2011 to September 2017.

      Powers—a Former Model and Victim of Rubin’s—Joins the Venture and Becomes
                            an Integral Member of the Conspiracy

          44.     Powers, a former Hawaiian Tropics model, became involved with Rubin ten to

   twelve years ago, when Rubin was in what he has referred to as his “brunette phase.” Rubin now

   prefers blondes.

          45.     Like Plaintiffs here, Powers was induced into a BDSM relationship with Rubin,

   and, upon information and belief, sustained injuries as a result.

          46.     However, Powers continued to associate with Rubin. Powers eventually married

   one of Rubin’s associates after Rubin introduced Powers to him, and Powers has had multiple

   children with him.

          47.     When she became involved with Rubin’s associate, Powers began to work for

   Rubin in a professional capacity. Instead of acting as Rubin’s girlfriend or playmate, Powers began

   to run the day-to-day operations of the Venture.

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          48.     Powers’s role was recruiting women to bring to New York, and arranging the

   logistics, including flight purchases and payment.

          49.     To advance the Venture’s scheme and build trust with the victims of the Venture,

   Powers acts as a sister-figure for the women. After Powers builds some trust with the victims of

   the Venture, Rubin and Powers invite the women to New York under false pretenses. Rubin then

   physically assaults them, sexually abuses them, and falsely imprisons them.

          50.     Powers also acts as the Venture’s “fixer,” cleaning up Rubin’s messes and seeking

   to minimize problems with victims of the Venture.

          51.     Indeed, once Plaintiffs here began to attempt to seek an escape from being

   continually victimized by the Venture, Powers attempted to interfere with Plaintiffs’ plans,

   including, but not limited to, offering money to Plaintiffs to attempt to buy Plaintiffs’ silence and

   to pay for medical services which were the result of Rubin’s actions which have caused Plaintiffs

   great financial hardship.

          52.     Upon information and belief, Powers is paid through the Doe Company for her

   services.

          53.     Further, upon information and belief, the money used to sustain the Venture—for

   payment of Rubin’s women, paying rent to Blue Icarus for the Penthouse, travel arrangements,

   and later pay-offs—goes from Rubin to the Doe Company, to Powers, to wherever the money is

   then needed.

          54.     Powers made the transfers to Plaintiffs in this action directly from her personal

   PayPal account.

                        Schnur, One of Rubin’s Attorneys, Assists the Venture

          55.     Yifat Schnur, a former prosecutor, represents Howard Rubin in connection with the



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    Venture’s activities.

           56.     Schnur drafted the October 4, 2016 agreement which Powers provided to

    Plaintiff Caldwell.

           57.     In August 2017, Schnur also advised Rubin and Powers with regards to Plaintiff

    Lytell’s criminal action, and eventually attempted to meet with Plaintiff Lytell at Rubin’s and

    Powers’s direction.

                                         Tagai’s Background

           58.     Tagai, also a single mother to her nine-year-old son, is an International Playboy

    Playmate and model. Tagai worked as a cocktail waitress at the LAX nightclub and shortly after,

    she worked as a cocktail server at Tao Nightclub at the Venetian in Las Vegas. Tagai is the third

    oldest of eight siblings. At the time she was introduced to Rubin, Tagai resided in Las Vegas,

    Nevada.

           59.     In or around 2012, Tagai moved to Chicago, Illinois. Tagai then moved to Seattle

    on December 26, 2015, but returned to Chicago the following summer in June 2016.

                                         Hassen’s Background

           60.     Hassen is a former Playboy model.

           61.     Hassen formerly lived in Los Angeles, California until 2015, but currently resides

    in Brooklyn, New York.

                                         Reyes’s Background

           62.     Reyes is a freelance model and cocktail waitress.

           63.     Reyes resides in Miami Beach, Florida.

                                        Hopper’s Background

           64.     Hopper is a freelance model and student.


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           65.     Hopper also works as a cocktail waitress and server at the Tavern in Atlanta,

    Georgia, where she met Stephanie Shon through her coworker.



                                           Lytell’s Background

           66.     Lytell is an International Playboy Playmate. Approximately two years ago, after

    working as a cocktail waitress in her hometown of Fort Lauderdale, Florida, Lytell began

    modelling.

           67.     Playboy soon thereafter hired Lytell and Lytell has since then appeared in multiple

    international Playboy publications. She has participated in multiple modeling events and

    conventions, including Paradise Challenge in Jamaica, where Lytell met Plaintiff Moore.

           68.     Lytell has a substantial social media following. As has become the industry

    standard for models in the Playboy or bikini model industries, social media sites Instagram and

    Snapchat are essential marketing tools for Lytell.

           69.     Lytell commonly arranges photo or video shoots through these social media

    platforms.

                                          Moore’s Background

           70.     Moore is also an International Playboy Playmate. Moore grew up in Rockford,

    Illinois, and is the oldest of five siblings. Moore moved to Florida when she was 19, and, shortly

    thereafter, when her mother passed away, adopted her 10-year-old sister, who came to live with

    her.

           71.     Over the course of the next ten years, Moore worked in an office performing

    accounts receivable and other clerical work to support her sister and other siblings. When her sister

    began college, Moore began to pursue a modeling career, participating in workshops and training


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    to further her career.

             72.    Moore eventually left her clerical job and became a full-time model. Moore

    shoots for magazines and attends many of the same modeling conventions as Lytell, including the

    Paradise Challenge where the two met.

                                         Caldwell’s Background

             73.    Caldwell is a single mother to her now five-year-old daughter. Before Caldwell met

    Rubin, she worked as a cocktail waitress and dancer at Eleven, a club in Miami, her hometown.

             74.    Caldwell met Lytell at Eleven in October, 2015, and the two have been friends ever

    since.

                                        The Venture Lures Tagai

             75.    In late 2009 or early 2010, Tagai received a message through a social media

    platform called Model Mayhem, which is used to message models and initiate conversations, from

    a female representative. The representative indicated that she worked for Howard Rubin and that

    Rubin, who was familiar with Tagai’s work as a Playboy model, would like to meet Tagai in New

    York for dinner.

             76.    Rubin’s representative described Rubin as a kind businessman who simply loved

    spending time with and sharing meals with models, and would pay those models for their time.

             77.    Rubin’s representative even noted that she could provide references for Rubin,

    including a reference from a former model named Jennifer Powers, who had shared similar

    experiences with Rubin.

             78.    While, Tagai was living in Las Vegas at the time, she happened to be in New York

    for the weekend. Thus, relying on the representations of Rubin’s representative, Tagai agreed to

    meet Rubin for dinner.



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              79.   The brief communications through Model Mayhem were the only conversations

    Tagai had with Rubin’s representative. Tagai never met her in person.

              80.   Following her receipt of these messages, Tagai met Rubin at the Russian Tea Room

    in midtown Manhattan. The two enjoyed drinks and dinner together. At the time, Rubin made no

    comments which caught Tagai off guard or caused her to be suspicious.

              81.   Towards the end of their dinner, Rubin asked Tagai how long she planned to remain

    in New York and where she was staying.

              82.   Tagai confirmed that she would be in New York through the weekend, and told

    Rubin the name of her hotel.

              83.   Rubin then asked if Tagai would like to get together the next day. Rubin also offered

    to pay for Tagai to stay in a nicer hotel, the Loews Regency New York Hotel on Park Avenue and

    East 61st Street (the “Loews”), for the rest of her time in New York.

              84.   Tagai, who had enjoyed her dinner with Rubin, agreed and accepted his offer.

              85.   The two then said their goodbyes for the evening, and Rubin paid Tagai $2,000 in

    cash for her time.

              86.   The next day, after she had checked into the Loews, Tagai again met Rubin for

    dinner. Because the dinner went well and the two of them got along well, Tagai invited Rubin back

    to her hotel room.

              87.   At the hotel, Rubin and Tagai engaged in consensual sex. While Rubin made some

    out-of-the-ordinary requests, he did not ask for or do anything that Tagai deemed extreme. Tagai

    did not feel threatened and viewed this first encounter as simply fun and playful.

              88.   Rubin then left the hotel, with a plan to stay in touch, and see each other in the near

    future.



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             Rubin Flies Tagai To New York on Multiple Occasions in 2010 and 2011

           89.     Following this first weekend with Rubin, Tagai returned to Las Vegas, but

    remained in near constant contact with Rubin. The two texted each other nearly every other day,

    and continued to meet in New York.

           90.     In 2010, Rubin flew Tagai to New York from Las Vegas to meet with him on at

    least three occasions. During this time period, Rubin was in direct communication with Tagai, and

    would help her to arrange the flights himself. Rubin would either pay for the flights himself, or

    would reimburse Tagai for any flights she purchased. Rubin also arranged for and paid for Tagai

    to stay at the Loews hotel for each of her trips.

           91.     As with their first date, Rubin and Tagai would typically meet for drinks or a meal

    at the Russian Tea Room or a restaurant called the Wayfarer, and then would return to the hotel to

    engage in consensual sex.

           92.     Rubin would typically see Tagai between the hours of noon to 4 p.m. or 4 p.m. to

    10 p.m., when he would need to leave to return to his home. Rubin would see Tagai depending on

    his schedule at home.

           93.     On one occasion, Rubin sent Tagai to a sex store with a list so that the she could

    pick up various sex toys to use that evening. Rubin’s credit card was on file at the store and Rubin

    had Tagai buy around $800 worth of sex toys from the list. At the time, Tagai believed that Rubin

    simply had a curiosity about BDSM play, and, though it was all very new to her, she was accepting

    of his interest in exploring that curiosity with her. Rubin at first proceeded very slowly with Tagai.

    As time went on, however, Rubin’s conduct and requests grew more extreme.

           94.     Rubin, who always kept a key to the hotel room in which Tagai was staying, also

    liked to sneak into her room early in the mornings while she was still asleep. When he would come



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    over, Rubin would visit with a duffle bag of sex toys, ropes, and other BDSM-type objects. Rubin

    enjoyed initiating intercourse with Tagai as she slept, telling her that he liked to feel like he was

    raping her while she was sleeping.

           95.     Following each encounter, Rubin would pay Tagai a sum of $2,000 to $5,000 in

    cash or by wire transfer.

                                The Venture’s Criminal Acts Against Tagai

           96.     In or around early 2011, Rubin introduced Tagai to Jennifer Powers, stating that

    Powers would be handling the travel arrangements and logistics of their meetings going forward.

           97.     From that time forward, Powers purchased Tagai’s flights and coordinated Tagai’s

    meetings with Rubin. However, towards the end of the relationship, Tagai purchased most of the

    flights and was reimbursed. Powers would then coordinate Tagai’s arrival time.

           98.     On one occasion in mid-2011, Powers asked Tagai to meet her at a new location: a

    condominium that turned out to by Rubin’s newly rented Penthouse.

           99.     Powers presented Tagai with an NDA and persuaded her to sign. This was the first

    time Rubin or anyone associated with Rubin had asked her to sign any document.

           100.    Tagai felt confused by the sudden appearance of a legal document, but agreed to

    sign, thinking it was simply a whim of Rubin’s.

           101.    Powers did not give Tagai, who was not familiar with legal documents, a chance to

    consult with any advisor, and did not permit Tagai to keep a copy of the NDA for her records.

           102.    Over the next four years, Tagai continued to see Rubin.

           103.    At one point, in or around 2014, Rubin encouraged Tagai to quit her job, promising

    that he would “take care of her.” As a result, Tagai visited Rubin once a month in New York and

    spent close to two years without a job. During this time period, Rubin paid Tagai approximately



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    $5,000 a month.

           104.    On one occasion, Tagai saw Rubin texting another woman and saw that he was

    belittling this woman by letting her know that he was with Tagai.

           105.    While Rubin’s interest in BDSM appeared to increase, introducing new devices and

    equipment into the Dungeon, or as he referred to it to Tagai, the “red room,” Rubin generally

    sought Tagai’s consent during this time period, and she did not feel threatened.

           106.    But, beginning in early 2015, Rubin’s behavior changed completely—so much so

    that Tagai feared that Rubin had started taking drugs, something she had never known Rubin to

    do.

           107.    Tagai also began to notice new devices in the Dungeon each time she arrived at the

    Penthouse, including large-scale structures, ropes, and knives, which caused her for the first time

    to begin to fear Rubin.

           108.    Each time Rubin brought Tagai to the Dungeon, his behavior escalated. Rubin

    began to subject Tagai to painful experiences, which resulted in actual injury and severe bruising.

           109.    Worse, Rubin ceased asking for Tagai’s consent, and deliberately ignored her

    requests to “stop.”

           110.    Following these encounters, Powers would recommend Tagai a special cream,

    called Arnica cream, that was intended to treat the appearance of the bruising. Powers

    recommended the cream to speed up the healing process as Rubin did not like to see Tagai until

    the bruising he had caused disappeared.

           111.    On one occasion, in 2015, Tagai met Rubin for dinner at a lounge across the street

    from the Penthouse. Rubin was with an older gentleman, and two other women, one of which

    Tagai believed to also be in some sort of intimate relationship with Rubin.



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           112.    The group returned to the Penthouse to play pool. After a few rounds of pool, the

    older gentleman and the two other women left. Rubin pulled Tagai onto the pool table, and, without

    warning or obtaining Tagai’s consent, shoved a pool cue into Tagai’s vagina, causing pain and

    tearing. Tagai did not want Rubin to do this and begged for him to stop.

           113.    Following her protestations, Rubin left the room and returned with ropes. Rubin

    proceed to bind Tagai, and dragged Tagai along the floor by the ropes through the Penthouse to

    the Dungeon.

           114.    By the time they made it to the Dungeon, Tagai had sustained burns across her body

    from the ropes and from contact with the floor. Rubin then proceeded to tie Tagai to a large, black

    sex device, where her body was forced into an x-shape, and to punch her in the face. Tagai could

    not escape this device as Rubin frequently tied her onto the machine.

           115.    Rubin hurled insults at Tagai while she was bound, and eventually untied her and

    left without saying anything further.

           116.    After Tagai returned home, Rubin continued to contact her and acted as though

    nothing out of the ordinary had occurred. Though Tagai was afraid of Rubin, she thought that

    perhaps something had triggered him that evening, and decided to give him another chance.

           117.    But, when Tagai returned to New York (now from Chicago as she had moved from

    Las Vegas), Rubin’s bad behavior continued.

           118.    On several occasions, Rubin punched Tagai in her face and in her stomach. Rubin

    also hit Tagai in the ribs and would repeatedly say, “stupid girls.” He would then laugh in Tagai’s

    face and force Tagai to say, “I’m a stupid girl.”

           119.    On at least one occasion, without Tagai’s permission, Rubin penetrated Tagai with

    a glass dildo, causing Tagai to bleed. Rubin blamed the bleeding on Tagai and yelled at her that



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    the bleeding was from her period, not from the dildo. During this time, Rubin would smack Tagai

    in the vagina over and over again and even proceed to whip Tagai from the floor up to her vagina.

            120.   When Tagai protested, Rubin shouted at her, “Fuck you, you wasted my time,” and

    left.

            121.   Rubin would pay Tagai based on how he perceived she acted. If Tagai cried or

    protested in any way, he would pay her substantially less than if she simply took his threats and

    beatings without complaint.

            122.   In October 2016, Tagai asked Rubin for financial help as he was providing

    substantial financial support. Because of her credit and down payments for security, Tagai needed

    $4,800 to move into her new apartment in Chicago. At this time, Tagai asked Rubin for help, who

    responded by saying he could not help, knowing Tagai could be homeless. As a result, Tagai

    borrowed the money from her friend, who she paid back.

            123.   Rubin reached out two weeks later and asked Tagai to come to New York to see

    him. Rubin had no problem beating Tagai for his selfish reasons to help Tagai financially. As long

    as Rubin got what he wanted, he then felt it was okay to help Tagai.

            124.   On at least one occasion, Tagai, who had returned to work, now as a waitress at the

    Prysm Club in Chicago, had to take a significant amount of time off of work due to bruising caused

    by Rubin. Tagai had sustained such severe bruising to her breasts that she could not wear the v-

    cut uniform required for her job.

            125.   On more than one occasion during this time period, Tagai lost consciousness

    completely, waking up in a new location with no recollection of what had occurred.

            126.   On the first of these occasions, Rubin ordered wine, cheese, and fruit up to the

    Penthouse between 4 p.m. and 5 p.m. The last thing Tagai remembers is sitting on the couch, fully



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    clothed, drinking the wine that Rubin had poured for her and engaging in a typical conversation.

             127.   Tagai had consumed no other alcoholic beverages, nor had she taken any

    medications or drugs.

             128.   At approximately 8:30 p.m., Tagai woke up in the guest room of the Penthouse

    completely naked and sore. Rubin was nowhere to be seen.

             129.   Tagai got up to explore the Penthouse to try to determine what happened. When

    she entered the Dungeon, it looked as though a tornado had run through the room, with equipment

    and toys strewn about and knocked over.

             130.   Tagai had no memory of being in the room, but, based on the injuries she felt,

    suspected that Rubin had taken her there after she had lost consciousness.

             131.   On other occasions, Tagai remembered being tied up in the red room, but would

    wake up in the bedroom with no recollection of what had occurred.

             132.   Tagai does not know whether Rubin had caused injuries which caused her to black

    out, or if Rubin had slipped some sort of drug into her drink.

             133.   On any occasion that Tagai blacked out, Rubin would act as though Tagai had done

    something wrong. As a result, Rubin would give Tagai significantly less money than he had

    otherwise.

             134.   In or around June of 2017, Tagai finally had enough of Rubin’s treatment. Tagai

    had avoided Rubin for approximately six months following several of the incidents described

    above.

             135.   However, Rubin continued to contact Tagai, and began to act and speak to Tagai as

    he had prior to 2015. Hoping that Rubin was back to his old self, Tagai agreed to meet with him.

             136.   After Powers arranged for Tagai’s travel, Tagai paid for her flight and flew to New



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    York and met with Rubin.

            137.    Once in the Penthouse, Rubin bound and gagged Tagai. Without Tagai’s permission

    or consent, Rubin attached clothespins to Tagai’s breasts, causing Tagai intense pain.

            138.    The pain was simply too much for Tagai, who, although gagged, attempted to plead

    with Rubin to stop. Rubin refused.

            139.    Rubin then approached Tagai with a device she had never seen before, which

    appeared to her to be a long electric shocker of some variety. Although she did not know it at the

    time, the device was a cattle prod.

            140.    Again, without Tagai’s permission or consent, Rubin used the cattle prod to shock

    Tagai on multiple occasions across her body.

            141.    After Rubin was finished, he simply untied Tagai and left, without anything more.

            142.    Tagai was left in pain and felt extremely uncomfortable and wary towards Rubin.

    This was the last time she saw him.

            143.    Following the June encounter, Rubin and Tagai exchanged a handful of text

    messages. Rubin never mentioned what had occurred in June, and acted as though nothing was out

    of the ordinary.

            144.    On or around October 31, 2017, Rubin contacted Tagai for the last time, wishing

    her happy birthday. Tagai has not contacted him since.

                                            Tagai’s Injuries

            145.    As a result of the Venture’s violations of the TVPA and 18 U.S.C. § 2422, Tagai

    suffered significant injuries.

            146.    Following the incident in which Rubin dragged Tagai through the apartment, Tagai

    sustained burns on her body from the rope Rubin used to drag Tagai around with.



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             147.   Tagai sustained bruising to her face and breasts on numerous encounters with

    Rubin. Such injuries were so significant that Tagai had to miss work for a significant period of

    time.

             148.   Since the extreme encounters with Rubin, Tagai suffered from anxiety and inability

    to sleep. As a result, Tagai was prescribed Xanax pills to help Tagai sleep and overcome anxiety.

             149.   Tagai is a cocktail waitress and model who depends on her appearance to earn her

    income. Thus, the injury to her body caused Tagai to sustain economic damages.


                                       The Venture Lures Hassen

             150.   On or around May of 2011, after Hassen appeared in Playboy, a female

    representative of Rubin who identified herself as “Tracy” contacted Hassen to persuade her to meet

    Rubin.

             151.   Tracy told Hassen that Rubin was interested in taking some fetish style pictures and

    that Hassen would be compensated for her time in the amount of $5,000 but could also leave at

    any time if she felt uncomfortable.

             152.   Tracy also informed Hassen that she may receive minor bruises from the restraints

    for the pictures but not from Rubin himself.

             153.   Tracy also told Hassen that Rubin was a little over the top but a sweet and great

    guy that is just into role playing and fantasy and that Hassen should just say yes to everything.

             154.   In or around September 2011, Hassen flew from Los Angeles to New York City to

    meet with Rubin.

                               The Venture’s Criminal Acts against Hassen

             155.   Hassen met Rubin at the Mandarin Oriental Hotel in New York City, as well as

    three other women.

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           156.    While at the hotel, Rubin poured shots for all of the women, including Hassen, and

    had them drink until they became intoxicated.

           157.    Hassen noticed sexual instruments on the bed and became nervous.

           158.    Upon Rubin noticing that Hassen was nervous, he asked another woman in the hotel

    room to give Hassen something to take the edge off.

           159.    The woman crushed a pill up and put it in Hassen’s drink. Hassen did not see the

    pill, what shape it was, or what color it was.

           160.    After some time in the hotel, Hassen began to not feel well and became very itchy.

    Hassen also did not like the way Rubin had been touching her. Because of this Hassen asked to,

    and did, leave the hotel room.

           161.    Hassen later discovered that what was crushed up and put in her drink was

    oxycodone, a Schedule II narcotic.

           162.    Hassen did not see Rubin again for three to five years.

           163.    The next time Hassen saw Rubin was one of the times she was back in New York

    from Los Angeles, and it was by coincidence at a restaurant called BLT Prime in New York on

    Rubin’s birthday.

           164.    Hassen ran into one of the women that she had met the night in the Mandarin Hotel

    in Rubin’s room.

           165.    Hassen also saw a number of other Playboy models with Rubin at the restaurant

    and decided that she would reach out to Rubin to give him another chance and because Hassen

    believed that if she refused to take the drugs she would still be paid for the modeling work.

           166.    Hassen contacted Rubin through email and met up with Rubin as a friend on several

    occasions, simply having a meal together or getting a drink and talking.



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           167.    In the back and forth of the email, Rubin stated that Hassen would be beaten and

    bound and would be black and blue, but Hassen did not take these statements seriously as she had

    previously been told by Rubin’s female representative that Rubin was sweet and a great guy and

    only into role playing and fantasy.

           168.    Hassen believed this conversation to all be part of this role playing and fantasy.

           169.    Hassen and Rubin went out at least ten times for dinner and drinks. On some of

    these occasions Hassen would go back to the Penthouse with Rubin and one or two other women,

    but each of these encounters was merely social and included no beatings or sex.

           170.    Hassen believed that Rubin did not want Hassen to be one of the women that he

    had BDSM relations with as he was dating one of her friends.

           171.    However, in 2015 or 2016, after Rubin stopped seeing Hassen’s friend he took

    Hassen out for drinks and got Hassen very drunk.

           172.    Once Rubin got Hassen drunk, he forced her to take oxycodone again.

           173.    At this time, Hassen was not aware that the pill that was crushed in her drink the

    first night was oxycodone, nor was she aware that this was oxycodone.

           174.    The next thing Hassen remembers is waking up in a bed in the Penthouse with

    Rubin next her.

           175.    Rubin then told Hassen that they were going to go do something fun and forcefully

    grabbed Hassen.

           176.    Because Hassen was numb from the drugs and alcohol, she could not stop Rubin,

    and Rubin took her to the Dungeon while Hassen was going in and out of consciousness.

           177.    Inside the Dungeon, Rubin tied Hassen to the “X” shaped cross and woke Hassen

    up by beating and whipping her.



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           178.    Rubin would scream at Hassen things such as “[i]t’s just your pussy” and then kick

    Hassen in her vagina.

           179.    If Hassen did not repeat what Rubin said, he would again hit her.

           180.    The more Hassen screamed, the more involved Rubin would get, saying things such

    as “I love it when you cry.”

           181.    Hassen also noticed that the more she cried and screamed, the more erect Rubin

    would become and the more he wanted sex.

           182.    Furthermore, during the beating, Rubin would use things he had learned about

    Hassen to upset her and elicit emotions, such as “nobody loves you,” “you’re so ugly,” and “why

    do you think you don’t have a boyfriend.”

           183.    Rubin also gave Hassen more oxycodone during the ordeal, finally telling Hassen

    what he had been giving her after he crushed up a pill and put it in a drink for Hassen.

           184.    Hassen was in and out of consciousness throughout but remembers being placed in

    a machine that had her arms tied to her ankles, while blindfolded, gagged, and with her ears

    plugged.

           185.    The next morning, Rubin told Hassen he had a great a time and paid her $5,000.

           186.    Hassen told Rubin that she did not have a great time and that she was in pain.

           187.    Hassen saw Rubin monthly for a span of a few months, as Rubin had caused Hassen

    to become addicted to oxycodone, and Rubin was Hassen’s only supplier.

           188.    Every time Hassen went back, she was supplied more of the drug but was also

    beaten and raped.

           189.    This was Rubin’s game with Hassen: he got her addicted to drugs so that she would

    have to keep coming back to him to get the drugs, allowing him to further abuse her.



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              190.   These encounters eventually became so bad that they included electrocution and

    attaching various devices to Hassen’s nipples.

              191.   Hassen often asked to leave, but Rubin would not allow her to leave and would say

    things such as, “no one can hear you scream or hear you cry.”

              192.   Following one occasion, Hassen sustained an injury to her buttocks. Hassen

    previously had Bio Gel injections in her buttocks. Like breast implants and other cosmetic

    prosthetics, these injections are intended to provide a Reyes appearance.

              193.   Hassen experienced pain in her buttocks that was so severe that she had to be

    admitted to the hospital. As it turns out, Rubin had ruptured one of Hassen’s Bio Gel injections.

              194.   This rupture caused an infection, which required Hassen to take strong antibiotics.

              195.   To this day, the ruptured Bio Gel injection continues to give Hassen problems. On

    more than one occasion since she was admitted to the hospital, Hassen’s ruptured injection has

    become infected causing additional pain and requiring treatment with antibiotics.

              196.   The last time Hassen saw Rubin was in the summer of 2017.

              197.   In 2015, Hassen reached out to Rubin to inform him that a mutual friend of theirs

    had passed away.

              198.   Hassen met with Rubin and they had a few drinks while Hassen told Rubin what

    had occurred.

              199.   However, Hassen became intoxicated quicker than normal and after having a

    cigarette blacked out. Hassen believes she was drugged on this occasion without her knowledge.

              200.   Hassen woke up in the Dungeon to beatings, electrocution, and clamps on her

    vagina.

              201.   Hassen demanded that he let her go.



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           202.    In retaliation, Rubin ripped her off of the “X” cross and threw her to floor.

           203.    Hassen demanded money so that she could go home, as she had nothing on her

    because she believed she only meeting Rubin to tell about their friend passing away.

           204.    Rubin then hit her in the face so hard that he split her lip.

           205.    On one occasion Rubin brought Hassen—along with several other women—to the

    strip club Cheetahs located in Manhattan.

           206.    Rubin got a private room for him and the women at the strip club.

           207.    While inside, Rubin beat Plaintiff Hassen—but none of the other women.

           208.    A waitress came in to the private room on several occasions to ask if everything

    was okay because of what Rubin was doing to Hassen.

           209.    After the waitress came back several times, the group was removed from the strip

    club because of Rubin’s conduct.

           210.    After a long time of not seeing Rubin, Hassen went back because she wanted to

    understand what had happened to her and why.

           211.    It was only upon Hassen going back to see Rubin that she was required to sign an

    NDA.

                                             Hassen’s Injuries

           212.    As a result of Rubin’s abuse and the Venture’s violations of the TVPA and 18

    U.S.C. § 2422, Hassen suffered significant injuries to her business and to her property.

           213.    After the Venture first transported Hassen to New York to meet with Rubin, she

    woke up in extreme pain, with one of her eyes swollen shut, her breasts swollen, and her shoulders

    hurting.

           214.    As a result of Rubin forcing her to take oxycodone and in conjunction with her



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    injuries, Hassen became addicted to the drug.

           215.    This required Hassen to go back to Rubin for more pills, where Rubin then assaulted

    Hassen before giving her the pills, and resulted in a cyclical relationship: every time Hassen

    would go to Rubin, he would give her oxycodone and beat her so badly that she would

    need more the morning following the beatings. As the addiction grew worse, Rubin

    would take more and more advantage of Hassen and used her addiction to his advantage

    and forcing Hassen to come back to him for more drugs.

           216.    Hassen has also sustained damage to her Bio Gel implants due to Rubin’s use of

    force. As a result, Hassen frequently suffers from infections which require treatment with

    antibiotics and costly doctors’ visits.

           217.    Hassen, who previously earned her living as a model, has not been able to work in

    the industry as a result of the physical and emotional trauma she sustained at the hands of the

    Venture.

                                         The Venture Lures Reyes

           218.    On or around early March of 2016, Reyes was contacted by one of her girlfriends

    who was a recruiter for Rubin’s sex trafficking scheme, Taren Cassidy. Cassidy invited Reyes to

    come from Las Vegas, where Reyes had been vacationing, to New York to meet with Defendant

    Rubin. Cassidy assisted Reyes in making her travel arrangement to come to New York, which

    required Reyes to change her planned return trip to Florida.

           219.    Cassidy told Reyes a little about Rubin but was very vague when describing Rubin.

    Cassidy did not explain what Rubin would require of Reyes, or what Reyes should expect.

           220.    Because she was acting on behalf of Rubin, Cassidy knew or should have known

    that Rubin would use threats of force, force, and coercion to cause Reyes to engage in commercial


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    sex acts.

            221.      Upon information and belief, Rubin and his associates paid Cassidy for her

    recruitment of Reyes.

                                  The Venture’s Criminal Acts Against Reyes


            222.      Later that night, Reyes and Cassidy were drinking and partying at the Penthouse

    when Rubin visited the apartment.

            223.      Rubin provided Reyes and Cassidy alcohol and recreational drugs, such as cocaine.

    Rubin pressed the women to take the cocaine and continued to refill their drinks.

            224.      After ensuring that the women were intoxicated, Rubin then proceeded to tell Reyes

    to sign an NDA. Reyes did not know what an NDA was and asked Rubin to explain why she

    needed to sign the document.

            225.      Instead of providing any explanation, Rubin told Reyes, “If you can’t sign this, you

    can’t be here.”

            226.      Reyes did not know what she was signing as she had been drinking and partying

    and had no intention or prior knowledge of Rubin’s requirement to sign any document. Reyes

    would not have signed the NDA had she not been intoxicated and pressured into doing so by Rubin.

            227.      Reyes ended up signing the NDA, which promptly changed the mood. Rubin then

    proceeded to throw Reyes over his lap and started to hit Reyes on her buttocks. Reyes told Rubin

    that that had hurt.

            228.      Then Rubin’s behavior began to escalate. Rubin opened a door to a room, which

    Reyes entered with her friend. Rubin started tying Reyes up and told her that there was a safe word

    that she could use if she felt uncomfortable.

            229.      But immediately thereafter, Rubin proceeded to insert a ball gag into Reyes’s

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    mouth, preventing her from saying the safe word or making any protestations.

           230.    Rubin produced a dildo which he first showed to Reyes, and then forcibly inserted

    the dildo into Reyes’s vagina, causing tears and bruising. Rubin did not ask Reyes if she was okay

    with his use of the dido.

           231.    Reyes tried to protest, but could not as Rubin had gagged her.

           232.    Rubin also blindfolded Reyes with a mask and bound her with rope. He then

    proceeded to beat and punch Reyes in the head, stomach, buttocks, and legs, causing bruising and

    a large contusion on the back of Reyes’s thigh, approximately the size of a football.

           233.    Rubin also hit Reyes with different instruments, but Reyes could not identify the

    instruments as she was blindfolded.

           234.    At one point, Reyes was able to remove the gag from her mouth for long enough to

    say the safe word. Despite this, Rubin continued to beat Reyes.

           235.    Rubin eventually became upset at Reyes’s protestations and kicked Reyes of the

    room, shut the door, and locked it. He then proceeded to continue beating Reyes’s friend.

           236.    Left on her own, Reyes climbed onto the pool table and started crying. She could

    hear her friend get beaten during this time and feared what was happening to her.

           237.    After another 30–45 minutes, both Rubin and her friend came out of the room.

           238.    Rubin said “everything is fine,” and left the apartment.

           239.    Cassidy told Reyes that she would feel better once she goes to bed.

           240.    The next morning, Reyes packed her stuff and left the Penthouse.

           241.    Jennifer Powers sent Reyes $2,500 via PayPal on March 11, 2016.

           242.    Following her encounter with Rubin, Reyes experienced extensive bruising and

    tears to her vagina, which Reyes had to treat with iodine to prevent further infection.



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            243.     Reyes grew depressed and suffered from insomnia and anxiety as a result of her

    trauma. Reyes could not stand to be hugged or otherwise touched following the experience. Reyes

    feared that Rubin, who she knew had far greater resources than she did, could do bad things to her

    if she contacted the police or otherwise came forward with regards to what had happened to her.

            244.     Reyes never again came into contact with Rubin or Powers.

                                              Reyes’s Injuries

            245.     Rubin’s beating caused Reyes to suffer a contusion about the size of a football on

    the back of her leg, bruising on her backside and all over her body.

            246.     Reyes also sustained extensive tearing to her vagina, requiring treatment with

    antiseptic.

            247.     Since her encounter with Rubin, Reyes has struggled with intimacy, and does not

    like to be touched by other people, including even feeling twitchy when her child gives Reyes a

    hug or a kiss.

            248.     Reyes has sustained extensive emotional and mental trauma which has required

    treatment.

            249.     Reyes is model who depends on her appearance to earn her income. Thus, the injury

    to her body caused Reyes to sustain damages to her business.

                                        The Venture Lures Hopper

            250.     Hopper, while working as a cocktail waitress and server at the Tavern in Georgia,

    met Stephanie Shon through a mutual friend. At the time, Shon also lived in Atlanta, Georgia.

            251.     Shon told Hopper about Rubin and that Rubin, at the time, was looking to spend

    time with beautiful women. Shon explained to Hopper that Rubin would fly Hopper up to New

    York and that Hopper would have a nice place to stay at during her trip there. Shon also said that



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    Rubin was really nice.

           252.    Shon introduced Hopper to Rubin and Hopper, believing Shon’s portrayal of

    Rubin’s character, flew to New York. Hopper and Rubin had an intimate relationship with each

    other until Rubin became violent.

                    The Venture’s Criminal Acts Against Hopper – The March Trip

           253.    On or around March 24, 2016, Hopper arrived in New York on a flight purchased

    by Powers.

           254.    Powers arranged for all of Hopper’s travel, and simply emailed Hopper the flight

    itinerary when all was set.

           255.    Per Powers’s instructions, Hopper went to the Penthouse.

           256.    Hopper signed an NDA in 2015.

           257.    Powers requested that Hopper sign the NDA.

           258.    Hopper is not familiar with legal documents and contracts like NDAs and did not

    understand the contents. Powers did not explain the contents, nor did Powers provide Hopper

    adequate time to review the NDA or have an attorney or advisor review the NDA.

           259.    Hopper met Shon and Rubin at a restaurant, where there was no further interaction

    between Hopper and Rubin that night.

           260.    Immediately following this trip, on March 30, 2016, Hopper learned that Shon,

    without Hopper’s permission, had posted on the Internet naked photos of Hopper, which Shon had

    previously procured for Rubin.

           261.    Instagram, at Hopper’s urging, eventually removed these photos.

                     The Venture’s Criminal Acts Against Hopper – The April Trip

           262.    A month later, in or around late April 2016, Hopper flew from Georgia to New



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    York and met Rubin for dinner.

           263.    At the restaurant, Rubin encouraged Hopper to drink heavily. Eventually Hopper

    became intoxicated.

           264.    Hopper then returned to the Penthouse with Rubin, when Rubin forced Hopper to

    open a bottle of wine and drink the whole bottle of wine herself, causing Hopper to become

    nearly unconscious.

           265.    Rubin then pushed Hopper to the floor and slapped Hopper’s face and called her a

    “slut” and “whore” and jokingly laughed the comments off.

           266.    Rubin then dragged Hopper to the Dungeon, and even though Hopper was

    screaming and telling Rubin to stop, Rubin proceeded to tie Hopper up on all fours.

           267.    Hopper was so intoxicated, she blacked out and woke up alone at the Penthouse

    with no memory of how the night ended.

           268.    The next morning, Hopper returned to Atlanta.

           The Venture’s Criminal Acts Against Hopper – May 2016 Through August 2017

           269.    Hopper continued to make occasional trips to New York, which continued until

    May 2017. However, Hopper was invited to New York by Rubin for an August 2017 trip, but a

    conflict arose requiring Rubin to cancel the trip but still pay Hopper a lesser amount.

           270.    The Venture flew Hopper to New York on at least four additional occasions: on or

    around September 2016, November 24, 2016, January 31, 2017, and May 26, 2017,.

           271.    The Venture paid Hopper through PayPal on each of these occasions.

           272.    On these occasions, without her consent, Rubin tied Hopper down and shoved

    foreign objects, such as a glass dildo, into Hopper’s vagina.

           273.    While Hopper was screaming and crying, Rubin also whipped Hopper. Hopper did



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    not consent to being whipped.

           274.    Hopper to this day has a scar from the whips on her arm.

           275.    After shoving foreign objects into Hopper and whipping Hopper, Rubin would flip

    Hopper over and rape Hopper from behind. Hopper did not consent to having sexual intercourse

    with Rubin.

           276.    When Hopper continued crying, Rubin slapped Hopper and said, “Shut up, whore.

    This is what you like.”

           277.    Sometime during their relationship, Rubin found out about Hopper’s history of

    sexual and physical abuse at a young age and took advantage of this knowledge. Hopper suspects

    Shon, who claimed to be Hopper’s friend and had knowledge of Hopper’s history of abuse, told

    Rubin. It was evident that Rubin used this knowledge to enhance his sexual experience.

           278.    Rubin told Hopper of his fantasies of pretending to rape women and scaring

    women. He then slapped Hopper and called her names.

           279.    During these interactions, Rubin would also say to Hopper, “I’m your father raping

    you, like when he raped you as a little girl.”

           280.    On multiple occasions, Rubin offered Hopper pills at dinner or at the Penthouse,

    assuring Hopper that this would help with her anxiety and help Hopper get through their evening.

    Hopper felt that she had little choice but to do what Rubin said.

           281.    On one of these occasions, Rubin punched Hopper in her breasts, causing one

    implant to burst and creating very dark bruises. In fact, Hopper’s body was covered in bruises to

    the point Hopper could not wear a bikini in the summer time.

           282.    On another occasion, during dinner, Rubin bragged to Hopper that he had broken a

    woman’s jaw. Upon hearing this, Hopper was scared as she thought Rubin could do the same thing



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    to her as well.

                                              Hopper’s Injuries

            283.      As a result of Rubin’s abuse, Hopper suffered significant injuries.

            284.      Hopper sustained major bruising to her face and body, as well as scarring to her

    arms where Rubin whipped her.

            285.      On one occasion, Rubin beat Hopper in the face so badly that he dislodged a

    facial injection.

            286.      Hopper had to go to a doctor and plastic surgeon to have the injection fixed.

    Because she was afraid and embarrassed, Hopper did not tell the doctors what Rubin had done to

    her, simply noting that she wasn’t sure what had occurred.

            287.      On one occasion, Rubin punched Hopper so hard in the breast that he popped her

    breast implant, causing severe bruising and scarring.

            288.      Hopper has also sustained emotional injuries after Rubin triggered Hopper’s

    memories from her abusive past.

            289.      Hopper’s injuries harmed Hopper in her business. As at least Rubin, Powers, and

    Shon knew, Hopper is a model and cocktail server whose physical appearance is critical for her

    ability to earn a living. As such, the damage Rubin caused to Hopper’s body prevented Hopper

    from working, causing Hopper to sustain economic losses.

            290.      Further, the Venture caused injury to Hopper’s personal property in the form of the

    prosthetics implanted in her face and breasts.

                                          The Venture Lures Lytell

            291.      On or around August 23, 2016, Lytell received a direct message on Instagram from

    Stephanie Shon on behalf of Rubin. Shon indicated that she worked for Howard Rubin, and that



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    Rubin, who had seen images of Lytell on Instagram, would like to meet Lytell in New York.

           292.    While Shon initially identified Rubin by name, she then insisted that Lytell refer to

    him only as “H” so as to protect Rubin’s identity.

           293.    Shon noted that while she would not be at the meeting in New York, Lytell would

    have the opportunity to meet her “boss,” Rubin.

           294.    Shon told Lytell that Rubin would pay for Lytell to fly from Florida to New York

    and pay Lytell $2,000 to meet and spend time with Rubin.

           295.    Shon explained that if Rubin liked her, Rubin would pay an additional $3,000, for

    a total of $5,000, to Lytell. Shon represented that Rubin loved spending time with Playboy models

    and frequently set up this type of arrangement.

           296.    Because Lytell did not know who Rubin was, and was wary of the somewhat out-

    of-the-ordinary arrangement, she initially refused the offer.

           297.    However, Rubin was persistent. Rubin next had Powers contact Lytell to persuade

    Lytell to travel to New York. Powers spoke with Lytell on the phone and through the messaging

    application WhatsApp.

           298.    When Lytell identified her reservations, consistent with the Venture’s scheme of

    lying to its victims to induce them to meet with Rubin, Powers lied to Lytell.

           299.    Powers assured Lytell that Rubin was “a great guy,” and would not do anything to

    make Lytell feel uncomfortable. Powers noted that she herself had initially entered into a similar

    arrangement as proposed, and claimed she had a positive experience which led to her current

    employment with Rubin.

           300.    In fact, Powers told Lytell that if Lytell ever felt uncomfortable she could simply

    ask to leave, and would not only be allowed to do so, but would still be paid the initial $2,000 for



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    her time.

            301.    Relying on Shon’s and Powers’s representations, Lytell agreed to come to New

    York, with the condition that she could bring a friend with her, who Rubin would also pay to travel

    to New York.

            302.    Rubin and Powers agreed to Lytell’s condition.

            303.    Lytell contacted Plaintiff Moore, another International Playboy Playmate, and

    asked Moore if she would join her.

            304.    As described further below, Moore had in fact already been contacted by the

    Venture and was herself also wary of the arrangement.

            305.    However, again at Rubin’s direction and to further the Venture, Powers also lied to

    Moore and wrongly claimed that Moore would be safe, and would not be asked to do anything that

    she did not want to do.

            306.    As such, Powers purchased plane tickets on JetBlue Airways to New York for

    Lytell and Moore with funds supplied by Rubin through the Doe Company, arranging for Lytell

    and Moore to meet with Rubin at the Penthouse.

                                       The Venture Lures Moore

            307.    At about the same time that Shon contacted Lytell, Shon also direct messaged

    Moore through Instagram.

            308.    Moore initially ignored Shon. People contact Moore frequently through Instagram

    with proposals and job offers, the vast majority of which are not legitimate. Thus, Moore was

    initially very skeptical.

            309.    But, after Powers convinced Lytell to travel to New York to meet Rubin, Lytell

    called Moore to persuade her to join her on the trip.



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           310.    Still not completely convinced, Moore had phone calls with both Shon and Powers.

    Because of her initial skepticism, Moore wanted as much information as she could obtain.

           311.    Consistent with the Venture’s goals and Rubin’s direction, both Shon and Powers

    lied in all communications with Moore, claiming Rubin was not threatening, and noting that Rubin

    was a very wealthy man who enjoyed women and liked to take care of them.

           312.    Powers and Shon told Moore that Rubin liked large breasted women and that Rubin

    said he liked the photos he had seen of Moore.

           313.    Powers reassured Moore that she did not need to worry and that the trip would not

    be about sex, and, at most, would entail some fetish play and potentially photos.

           314.    As Moore had previously done photo shoots involving light fetish work, and had

    always been treated well and with respect to her boundaries, she decided to travel to

    New York and to the Penthouse consistent with her previous professional work.

         The Venture’s Criminal Acts Against Lytell and Moore – The August 2016 Trip

           315.    Lytell and Moore arrived in New York from Florida on flights purchased for them

    by Powers on behalf of Rubin on or around August 23, 2016.

           316.    Upon arrival and as per Powers’s instruction, Lytell took a cab from the airport to

    the Penthouse and Moore took a car to the Penthouse after Moore’s flight had been delayed and

    the two did not arrive at the airport at the same time as planned.

           317.    Lytell and Moore were greeted at the Penthouse by Powers, who poured them

    cocktails and showed them around the Penthouse. The Penthouse appeared to be a typical high-

    end New York residence, but with photos of various Playboy Playmates displayed throughout. The

    models in the images were very well-known Playboy Playmates, as well as some lesser-known

    models. Many of the photos included Rubin with these other women.


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            318.     Lytell and Moore recognized many of the models on the walls, and were comforted

    by the fact that women they knew had presumably entered into the same arrangement with Rubin

    that they had.

            319.     At the Penthouse, Powers presented both Lytell and Moore with       an NDA.

            320.     Powers requested that Lytell and Moore sign the NDA before meeting with Rubin

    for dinner.

            321.     Neither Lytell nor Moore were familiar with legal documents and contracts like

    NDAs and did not understand the contents. Powers did not explain the contents, nor did Powers

    provide the women adequate time to review the NDAs themselves or have an attorney review the

    NDAs.

            322.     Instead Powers persuaded each of them to sign, noting that it was simply standard

    practice for Rubin and not to worry because “everything will be great.”

            323.     Despite Powers and the Venture knowing that they would require Lytell and Moore

    to sign the NDAs upon arriving at the Penthouse, they did not provide Plaintiffs the NDAs in

    advance for their review, for them to have attorneys review, or copies for the women to keep, nor

    did they inform Plaintiffs prior to their trip that they would be required to sign any contracts to

    meet with Rubin.

            324.     Powers then took the executed NDAs but refused to allow either Lytell or Moore

    to keep a copy for their own records.

            325.     At approximately 5:00 p.m., after signing the NDAs, Powers brought Lytell and

    Moore to meet Rubin at a rooftop bar located at Viceroy Central Park, a hotel next door to the

    Penthouse.

            326.     It is Rubin’s practice to meet the victims who the Venture lures to the Penthouse at



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    this hotel immediately prior to returning to the Penthouse to sexually assault them.

           327.    Rubin, Lytell, and Moore had drinks and dinner at the hotel bar before heading back

    to the Penthouse. Throughout their interactions at the Viceroy, Rubin treated Lytell and Moore

    respectfully and cordially. Lytell and Moore slowly became more comfortable, believing that

    Rubin would treat them with respect as claimed by Powers.

           328.    However, when the group returned to the Penthouse at approximately 7:00 p.m.,

    the mood quickly changed. Upon entering the Penthouse, Rubin ordered Lytell and Moore to

    change into fetish-style clothing before returning to the living room to have additional drinks with

    him. Rubin made each of the cocktails himself, out of the sight of Lytell and Moore.

           329.    Rubin’s demeanor was different inside the Penthouse than in public. He became

    cold and authoritative, ordering Lytell and Moore to do as he commanded. Because of this change,

    Lytell and Moore grew nervous.

           330.    In what appeared to be an attempt to assuage their concerns, Rubin went to a safe

    located in the Penthouse and paid both women $5,000 in cash.

           331.    Even more concerning was that a room that had been previously locked was now

    open, and revealed a room with a white carpet and red walls, filled with ropes, chains, dildos

    labeled A–Z, and other apparatuses which neither Lytell nor Moore recognized.

           332.    Lytell noticed a large x-shaped machine with straps, a bench, full-face masks with

    zippers, and metal hooks.

           333.    At this time, Moore was also beginning to feel strange, and believes now that

    something had been added to her drink to increase her intoxication.

           334.    Rubin brought the women into this side room (the “Dungeon”) and immediately

    slapped Moore across the face. Moore protested, telling Rubin not to hit her in the face. Not only



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    had the slap been unexpected and hurt, but Moore had recently undergone a cosmetic treatment to

    her face, known commonly as fillers, and was concerned that Rubin would damage the treatment.

           335.    At no point did Rubin or Powers ask either of the women about any potential

    medical conditions, something that someone in a responsible, consensual interaction would have

    done prior to any interactions of this type. However, had Rubin or Powers asked such a question,

    they would have lost the element of surprise, a crucial element of the Venture’s ability to lure

    women to Rubin.

           336.    At one point, Rubin demanded that Moore hit Lytell for him. When Moore

    objected, Rubin turned his violence on her. Moore, who was at this point scared of what Rubin

    would do if she did not obey, then attempted to pretend to hit Lytell, slapping her leg instead of

    Lytell. However, Rubin quickly caught on, and, as a consequence, hit Moore.

           337.    Rubin ignored Moore and proceeded to restrain both of the women, tying their

    hands behind their backs and binding their breasts with rope and what appeared to be red flagging

    tape (a non-adhesive type of plastic ribbon typically used in surveying or construction).

           338.    After telling Lytell and Moore that if they became uncomfortable he would stop,

    Rubin gagged both of the women so that neither could speak or object to anything that Rubin was

    going to do.

           339.    Rubin then told Lytell and Moore, “I’m going to rape you like I rape my daughter.”

           340.    At this point, both Lytell and Moore began to panic. While they had suspected that

    Rubin would want them to play some mild fetish games and perhaps take photos, neither one

    expected to be restrained in this manner or to be actually beaten.

           341.    Neither Moore nor Lytell consented to be restrained in this manner or beaten, nor

    could either woman verbally object after Rubin gagged them despite their many attempts to do so.



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           342.    Moore had previously done some fetish modeling work, and, based on Powers’s

    representations, expected the same scenario with Rubin. However, in her previous experiences,

    the restraint had been for show, and she had always felt that she was free to go when she requested.

           343.    This was different. Not only was Moore so restrained that she could not leave on

    her own, she could not even voice her objections. When either Lytell or Moore screamed or

    protested, Rubin would simply become more violent.

           344.    Once the women were tied up, Rubin took the side of his fist and punched Lytell in

    the back of the head.

           345.    Rubin began to beat both women in the breasts, calling the women “cunts,” and

    slapping and punching their breasts and ribcages repeatedly.

           346.    Rubin pushed Lytell to the ground, face down, and continued to punch Lytell in the

    back of the head, stating that Lytell “is the baby, and Howie is the daddy. The daddy has to beat

    his baby.” Rubin punched Lytell so strongly that Lytell fell unconscious.

           347.    Without her consent, Rubin penetrated Lytell, causing tears to her vagina. Because

    she was restrained and in and out of consciousness, Lytell does not know if Rubin penetrated her

    with an object or if it was Rubin himself.

           348.    After approximately one hour of raping and beating Lytell and Moore, Rubin

    abruptly stopped and left the Dungeon, loosening Lytell’s and Moore’s restraints before he left.

           349.    Both Moore and Lytell were shocked following Rubin’s departure and simply lay

    in the Penthouse, attempting to gather themselves.

           350.    Neither saw any other individuals in the Penthouse, but Lytell noticed a laptop and

    keys on the coffee table that had not been there previously.

           351.    Both women experienced bruising and pain immediately thereafter. They were also



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    tremendously emotionally distraught.

           352.    Rubin beat the women on the breasts so badly that Lytell’s left breast became

    swollen and later developed scar tissue and hardening, causing visible damage to Lytell’s implant

    and tissue, as well as pain.

           353.    They decided to message Powers to tell her what had happened.

           354.    Powers was not surprised.

           355.    Indeed, as it turns out, Powers had recruited many women to participate in the same

    exchange with Rubin. After Rubin is through with the victims—and returns home to his wife and

    children—it is Powers’s job to soothe the traumatized women and to help make arrangements with

    doctors to take care of any of the damage that Rubin had done.

           356.    This was not the first time Powers did this, nor would it be the last.

           357.    Moore and Lytell, who had nowhere else to go, stayed in the Penthouse for the night

    and returned to Florida the next day on the tickets the Venture had purchased for them.

                                      The Venture Lures Caldwell

           358.    Shortly thereafter, Powers contacted Lytell and asked if Lytell knew any other

    women that Rubin might like.

           359.    Lytell was afraid of what Rubin would do if she did not cooperate with Rubin.

    Rubin was, and remains, a very wealthy man who at this point knew her address, phone number,

    date of birth, and how to find her if he wanted to hurt her.

           360.    Out of fear of not cooperating with the Venture, Lytell introduced Powers to her

    friend, Caldwell, who was looking for additional ways to supplement her income to support her

    daughter, and made the introduction of Caldwell to Powers.

           361.    Rubin, through Powers’s personal PayPal account, paid Lytell $2,000 for making



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    the introduction.

           362.    Powers contacted Caldwell through WhatsApp, and made arrangements to fly

    Caldwell to New York to meet with Rubin. Powers made the same offer and same fraudulent

    representations to Caldwell that she had previously made to Lytell and to Moore: simply for

    traveling to New York and meeting with him, Rubin would pay Caldwell $2,000. If Rubin liked

    her, he would ask her to stay and would pay an additional $3,000 for a total of $5,000.

           363.    Lytell had told Caldwell everything about her previous experience with Rubin, so

    Caldwell was nervous about going. However, Powers assured Caldwell that Rubin would be

    respectful of Caldwell’s concerns, and would not ask her to do anything she was uncomfortable

    with and downplayed Lytell’s representations about what actually happened with Rubin.

           364.    As a result, Caldwell travelled to New York in early September 2016, by herself to

    meet with Rubin. Like Lytell and Moore, Caldwell met Powers at the Penthouse, who presented

    her with an NDA.

           365.    Just as with Moore and Lytell, Powers again did not provide any explanation of the

    NDA and did not confirm that Caldwell understood the agreement

           366.    In fact, Caldwell did not. Powers also did not permit Caldwell to keep a copy of the

    NDA.

           367.    Caldwell then met Rubin for dinner at the rooftop bar at the Viceroy Central Park.

    Stephanie Shon joined the two of them.

           368.    At the dinner, Caldwell, who had become more anxious as the night proceeded,

    turned to Rubin and told him that she was feeling nervous about what he might want to do later.

    Caldwell told Rubin that she had seen Lytell’s and Moore’s bruises and was concerned that he

    would do the same to her.



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           369.    Rubin told Caldwell that he did not like her attitude and refused to answer her

    questions regarding her concerns.

           370.    Caldwell, Rubin, and Shon soon returned to the Penthouse. Caldwell, alone in New

    York, was quite scared at this point, and asked Shon to stay.

           371.    But Shon said she could not, and left Caldwell at the Penthouse alone with Rubin

    for between thirty and forty-five minutes while Shon went to a party. Shon only returned after

    Caldwell kept messaging her to come back.

           372.    Rubin continued to provide Caldwell alcoholic drinks. Due in part to her

    nervousness, and in part to Rubin continuously giving her drinks, Caldwell drank more than she

    intended to, becoming intoxicated. Caldwell began to speak to Rubin about her daughter.

           373.    Rubin stood and slapped Caldwell across the face. Rubin told Caldwell that he was

    “completely turned-off” by the conversation.

           374.    Rubin put $2,000 in cash on the table and left the Penthouse, telling Caldwell she

    needed to leave by the next day.

           375.    Caldwell stayed the night at the Penthouse with Shon, while Shon attempted to take

    Caldwell under her wing, but Caldwell flew back to Florida on the ticket purchased by Powers

    because Caldwell needed to take care of her daughter.

           376.    Days after Caldwell left New York, Rubin began contacting her through WhatsApp,

    both on his own and through Powers.

           377.    Rubin proceeded to convince Caldwell to return to New York. Caldwell told Rubin

    she would only come if she could bring Lytell with her. Rubin eventually agreed and Powers again

    arranged and paid for flights and travel.

           378.    When she agreed to meet with Rubin the second time, Caldwell believed that, at



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    worst, she could go with Lytell, meet Rubin for dinner and simply be paid $2,000 for her time.

    Consistent with the representations of Powers and Shon, Caldwell did not expect to participate in

    anything further.

                The Venture’s Criminal Acts Against Lytell and Caldwell – The September
                                              Trip

           379.     Lytell and Caldwell flew from Florida to New York on September 24, 2017. After

    arriving at the airport, the two went directly to the Penthouse.

           380.     There, Lytell and Caldwell changed and met Rubin at a restaurant named Tao

    Uptown for dinner and drinks. Powers did not require Lytell or Caldwell to sign another NDA.

           381.     At some point during the dinner, a man who had spoken with Lytell outside while

    Lytell smoked a cigarette came over to the dinner table to say hello. Rubin became angry and

    demanded security, which eventually removed the man from the restaurant.

           382.     After the man left, Rubin stood up and walked out of the restaurant, leaving Lytell

    and Caldwell behind.

           383.     Not knowing what to do, Lytell and Caldwell returned to the Penthouse together.

           384.     Once Lytell and Caldwell arrived at the Penthouse, Rubin began to message them

    via WhatsApp.

           385.     Rubin returned to the Penthouse and was extremely intoxicated. When Lytell and

    Caldwell apologized for the disruption at dinner—which was caused by neither of them—and

    acted nicely to Rubin, Rubin grew frustrated and left the Penthouse.

           386.     Lytell and Caldwell changed out of their dinner clothes into more comfortable

    clothes, and stayed in the Penthouse, not expecting Rubin to return.

           387.     But Rubin returned to the Penthouse. Rubin’s conduct became so bizarre that Lytell

    contacted Powers, asking Powers to book a room at a hotel for Lytell and Caldwell to go to.

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           388.    Lytell grew frustrated and confronted Rubin. When Lytell began to yell at Rubin

    for how he was treating her and Caldwell and for scaring them, Rubin became more engaged, and

    then told the women that they were “going to do this.”

           389.    Rubin took both Lytell and Caldwell to the master bedroom—rather than the usual

    dungeon room—and tied Caldwell up with rope from the nightstand.

           390.    Rubin tied Caldwell’s mouth shut with the red plastic ribbon. Caldwell grew

    frightened as she then understood she would have no way of telling Rubin that he was going too

    far.

           391.    Rubin bound Caldwell’s hands behind her back, and tightly wrapped rope around

    her breasts. Rubin pushed Caldwell face down on the bed so that she could not see.

           392.    Up until this point, Lytell had simply been forced to observe. However, Rubin then

    threatened Lytell and forced her to hit Caldwell. When Lytell hesitated, Rubin hit her in the face.

           393.    Lytell, fearing for her safety and in hopes of protecting both herself and Caldwell

    from further harm at the hands of Rubin, lightly hit Caldwell. At any point that Lytell refused to

    follow or hesitated to follow Rubin’s instructions, Rubin would hit her or Caldwell harder.

           394.    Rubin proceeded to beat Caldwell violently, punching her repeatedly in the back of

    the head and beating her breasts.

           395.    Caldwell tried screaming out—as much as she could, given her restraints— to ask

    Rubin to stop, but she could not.

           396.    However, Rubin would not listen.

           397.    Caldwell was beaten in the head so badly, that she went in and out of consciousness

    during the beating.

           398.    While Caldwell was bound, Rubin took scissors and cut off her clothing.



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            399.    At one point while bound, gagged, and unable to see, Rubin penetrated Caldwell,

    first with an object and then himself, without Caldwell’s consent. Caldwell was powerless to stop

    him.

            400.    At one point, Caldwell looked up at Lytell and realized that both she and Lytell

    were crying. Caldwell wanted Rubin to stop hurting both of them, so when the tape around

    Caldwell’s mouth loosened up due to sweat, she bit his finger.

            401.    Rubin was initially surprised by the bite, but then grew even more violent and

    continued his attack on Caldwell.

            402.    After about an hour of the rape and beatings, Rubin, seemingly satisfied, untied

    Caldwell and left the Penthouse, leaving $5,000 on the table for Caldwell and having another

    $5,000 sent to Lytell via PayPal from Powers in the morning.

            403.    Caldwell’s head throbbed and she was already showing signs of physical trauma,

    including bruising and swelling.

            404.    Caldwell took photos and videos of her injuries. Caldwell had severe bruising on

    her face, breasts, back, and buttocks. Lytell suffered bruising to her face from Rubin’s assault.

            405.    Rubin beat Caldwell’s breasts so badly that her right implant flipped, so that the

    backside, which usually sat flush with her ribcage, faced outwards. Caldwell’s breasts were beaten

    so badly that the closure for her breast implant was fully exposed and visible and Caldwell’s plastic

    surgeon was not even willing to operate on her breasts after the incident due to the severe trauma.

            406.    On the same breast, Caldwell’s areola was damaged, becoming nearly twice as

    large as the areola on her left breast.

            407.    The women’s bruising only worsened as the days wore on after they returned to

    Florida.



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            408.    At the direction of the Venture, Powers paid Lytell $5,000 via PayPal the next

    morning and Caldwell was left $5,000 in cash as compensation.

    After Realizing How Severely Rubin Injured Caldwell, the Venture Attempts to Quiet
                        Caldwell By Paying Her Additional Money

            409.    Caldwell’s injuries, particularly those to her breasts, were so severe that she had to

    see a doctor. The doctor discovered not only the injury to Caldwell’s breast implants, but that

    Caldwell had developed hematomas around the implants, causing swelling and hardening of the

    breasts. The doctor also noted that Caldwell’s right areola would require surgery to correct.

            410.    When her doctor asked what had happened to her, Caldwell lied and said that she

    had accidentally injured herself.

            411.    Caldwell feared reprisal from Rubin if she had revealed what had truly occurred.

            412.    Caldwell is a model and dancer, as such that her physical appearance is extremely

    important to her work. Because of her injuries, Caldwell could not work, and lost her job at Eleven.

            413.    As such, she contacted Powers and Rubin to ask that they help to repair the damage

    Rubin caused.

            414.    The Venture responded by requesting that Caldwell again fly to New York on her

    own so that they could discuss.

            415.    Powers again purchased Caldwell’s plane tickets and arranged for her travel to New

    York.

            416.    Caldwell was terrified, but felt extremely vulnerable. She was hurt, just lost her job,

    and needed to take care of her daughter. Without any other options, Caldwell flew back to

    New York on October 4, 2016.

            417.    When she arrived at the Penthouse, Powers showed Caldwell a stack of papers that

    had been drafted by Rubin’s attorney, Schnur, and requested that she sign them. Powers then

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    promised that the Venture would pay Caldwell $20,000 in installments of $4,000 to repair her

    breasts.

           418.     The Venture paid Caldwell until the amount was paid off in December of 2016 or

    January of 2017. At such time there was one payment that remained to be paid directly to Caldwell.

           419.     However, the Venture initially refused to pay Caldwell the final payment and only

    did so after Caldwell asked Powers for a copy of the NDA she had signed and Caldwell wrote an

    apology note to Rubin about demanding the money for so long.

           420.     Caldwell never received the copy of the NDA she requested from Powers.

           421.     Rubin requested that Caldwell have her breast implants replaced with a sturdier

    material like silicone (Caldwell had saline implants, which are typically safer than silicone) so that

    she could return and Rubin could beat her breasts without concern of further damage.

           422.     Rubin was concerned only with preserving the Venture’s ability to continue to

    engage in crimes, and with preserving Caldwell’s breasts for future beatings, and not with any of

    Caldwell’s other injuries or emotional state.

           423.     Caldwell did not have the opportunity to review the document, and did not

    understand what she was signing. As with the NDAs, Powers again refused to allow Caldwell to

    take a copy of the document with her.

           424.     Powers and Rubin paid Caldwell, on the condition that she not reveal to her doctor

    how she was injured.




                  The Venture’s Criminal Acts Against Lytell and Santi – The October Trip

           425.     Again, fearing that Rubin would engage in violent reprisals if Lytell did not

    succumb to the Venture’s demands, Lytell returned to New York with another Playboy model,


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    Nancy Santi.

            426.    On this trip, Lytell became so anxious that she got sick, eventually throwing up on

    the plane from Miami, in the car, and at Rubin’s apartment.

            427.    To ease her anxiety, Rubin and Powers asked Lytell’s acquaintance, Zoe Cacciola,

    to tend to Lytell.

            428.    But Lytell could not stop and continued to be sick.

            429.    After Lytell proceeded to vomit for hours, Powers called an ambulance, which took

    Lytell to the emergency room, accompanied by Santi and Cacciola, spending the evening at the

    hospital with Santi and Cacciola.

            430.    Lytell was discharged from the hospital between 2:00 a.m. and 3:00 a.m. and

    returned to Rubin’s apartment with her friends.

            431.    Upon entering, Lytell saw that Rubin had multiple individuals over at the

    Penthouse, including Playboy Playmate Ashley Alexa.

            432.    Most in the Penthouse were drinking alcohol and snorting cocaine.

            433.    As Lytell was still recovering, and as Santi did not want to be around Rubin without

    Lytell, Lytell and Santi went to bed. Cacciola, who did not know about Rubin’s violent history,

    chose to join the party.

            434.    At one point, later in the night, Rubin came into the room in which Lytell and Santi

    were sleeping and removed a document and cash from the safe that was located therein.

            435.    Lytell later learned that this was an NDA and payment for Cacciola to join Rubin

    in the Dungeon.

            436.    After her encounter with Rubin, Cacciola returned to the room in which Lytell and

    Santi were resting. Cacciola was distraught and looked as though she had been hurt. Cacciola grew



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    more and more upset over her interaction with Rubin and began to scream at Lytell and Santi.

              437.   Cacciola continued to attack Lytell verbally and physically, and, eventually, Lytell

    fought back. Cacciola called the police.

              438.   As Lytell knew the police were coming, she contacted Powers to ask her what she

    should do.

              439.   Powers told Lytell to lie and say that the apartment belonged to Cacciola, and

    directed Lytell to hide any evidence of illegal conduct in the Penthouse.

              440.   Lytell, who feared Rubin, did as she was told.

              441.   When the police arrived, they saw that Cacciola—who had just returned from

    Rubin’s Dungeon—appeared to have sustained more physical injuries at first glance. The police

    arrested Lytell.

              442.   Lytell did not have a criminal record and was released with a desk appearance

    ticket.

              443.   Rubin, through Powers and the Doe Company, told Lytell they would pay for her

    criminal attorney in exchange for Lytell’s silence as to the involvement of the Venture.

              444.   Blue Icarus was aware, or should have been aware, and was on notice of the police

    being called to the Penthouse but chose not to determine what events had transpired in the

    Penthouse.

                       The Venture’s Criminal Acts Against Moore – The December Trip

              445.   In late December, Moore found herself in a tough financial situation. Because

    Rubin and Powers had kept in touch via WhatsApp, they were aware of this and again convinced

    Moore to travel to New York on her own, offering her $5,000 compensation for her time, and

    assuring her that her safety would not be threatened.



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           446.    Powers again purchased Moore’s plane tickets, and transmitted the flight records

    to Moore via email. Moore arrived in New York and immediately went to the Penthouse.

           447.    This time, Rubin requested to meet Moore at the Viceroy for lunch and drinks.

    Moore’s worries were initially assuaged due to the time of day, and because of how kind both

    Powers and Rubin appeared to treat her.

           448.    However, this did not last. After lunch, Rubin and Moore returned to the Penthouse.

    Rubin brought Moore into the Dungeon room and tied Moore to a post and inserted a ball gag into

    Moore’s mouth. Unlike in August, Rubin bound Moore’s feet, so that Moore could not move in

    any way.

           449.    Moore was not expecting this and became frightened. Rubin again began to beat

    Moore’s breasts, repeatedly punching and slapping Moore’s body. While her first experience with

    Rubin had not been a positive one, this was quickly becoming more violent.

           450.    Rubin then came towards Moore with a large instrument, causing Moore fear of

    imminent harm. Moore was at first not certain what the device was, but quickly realized that Rubin

    was holding what appeared to be a cattle prod, which Moore knew was supposed to be used to

    shock livestock. Moore did not consent to being touched or shocked with the cattle prod.

           451.    This did not stop Rubin. Rubin repeatedly shocked Moore with the cattle prod,

    placing it on the outside and inside of Moore’s vagina before causing it to shock her. Moore

    screamed and though she was gagged, tried to beg Rubin to stop and to untie her.

           452.    Rubin refused. The more Moore screamed, the more Rubin hurt her.

           453.    After the cattle prod, Rubin penetrated Moore repeatedly with a large dildo, and,

    eventually began to engage in sex with Moore himself. Moore, who was still gagged and crying

    from the pain she was suffering, did not consent.



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            454.    After more than an hour, Rubin stopped and left Moore alone.

            455.    Following this incident, Moore refused to stay in the Penthouse. Moore left and

    stayed at a hotel in New York before flying back to Florida the next day.

            456.    Powers sent Moore a PayPal payment of $5,000 from Powers’s personal

    PayPal account.

            457.    After Moore returned to Florida, Rubin continued to harass her. Rubin sent Moore

    WhatsApp messages, calling her a “cunt,” but continued to try to convince Moore to return.

            458.    Moore refused and has not seen Rubin since December 2016.

                                                   Moore’s Injuries

            459.    As a result of Rubin’s abuse and the Venture’s violations of the TVPA and 18

    U.S.C. § 2422, Moore sustained significant injuries.

            460.    Following the August 2016 encounter, Moore sustained bruising to her face and

    breasts, and felt intense pain in her left breast.

            461.    Following the December 2016 encounter, Moore’s left breast capsulated as a direct

    result of Rubin’s physical abuse. Moore experienced severe pain in her left breast, which continues

    to throb today, nine months after the injury was sustained.

            462.    Scar tissue has built up in Moore’s breast as a result of the trauma caused by Rubin,

    such that her breast has become hard.

            463.    As a result of the December 2016 encounter, Moore experienced tears and trauma

    to her vagina, and was in severe discomfort for weeks following her experience.

            464.    Following the December 2016 encounter, Moore suffered from depression,

    inability to sleep, and anxiety. After first attempting to self-medicate, Moore eventually began

    seeing a doctor who is now treating her with sleeping pills and anti-depressants.



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           465.    Moore informed Powers and Rubin of these injuries. Both Powers and Rubin urged

    Moore to get the damage to her breasts repaired, and that they would pay for it. Not wanting any

    further association with Powers and Rubin, Moore has not yet done so.

           466.    As at least Rubin, Powers, and Shon knew, Moore is a model whose physical

    appearance is critical for her ability to earn a living. As such, the damage Rubin caused to Moore’s

    body prevented Moore from working, causing Moore to sustain economic losses.

           467.    Further, the Venture caused injury to Moore’s personal property in the form of the

    prosthetics implanted in her breasts.

         Rubin Comes to Florida and Attempts to Lure Lytell and Caldwell Into Another
                                    Encounter – The March Trip

           468.    Following these encounters, Rubin and Powers continued to communicate with

    Lytell, and, on occasion, with Caldwell. Caldwell refused to travel anywhere to see Rubin, despite

    his urging that he would make her one of his “girlfriends.”

           469.    But, on or around March 29, 2017, Rubin came to Miami, Florida, and invited

    Lytell and Caldwell to dinner. Rubin was dining with Wes Edens, a prominent business man and

    owner of the Milwaukee Bucks in the National Basketball Association (“NBA”). Rubin offered to

    pay Lytell and Caldwell $500 each if they joined him and Santi for dinner.

           470.    Lytell and Caldwell agreed. While they both still feared Rubin, neither had any

    intention of going anywhere with him beyond dinner, and expected to be safe in the public setting.

           471.    At the dinner, Caldwell, who was feeling very emotional and angry at seeing Rubin

    again, lost control and told him he was a sick person that she never wanted to see him again.

    Caldwell continued, telling Rubin that he was a bad person and that, if he continued doing what

    he did to her, Lytell, and Moore, that he was going to end up killing someone. Rubin did not

    respond, merely turning to Lytell and telling her to control Caldwell.

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           472.      The dinner ended shortly thereafter. When Rubin made no move to pay the

    Plaintiffs, Caldwell asked for her $500.

           473.      Rubin was again turned on by the women’s fear and anger, said no, and that he

    would only pay if both Lytell and Caldwell returned to his hotel room with him.

           474.      The women refused, and eventually obtained their payments.

           475.      Caldwell never saw Rubin again; however, she was still in occasional contact with

    Powers regarding the installment payments which the Venture completed in August of 2017, only

    after Caldwell requested a copy of the NDA (which the Venture never provided), and wrote an

    apology letter to Rubin at Powers’s direction.

                                               Lytell’s Injuries

           476.      As a result of Rubin’s abuse and the Venture’s violations of the TVPA and 18

    U.S.C. § 2422, Lytell suffered significant injuries.

           477.      Following the August encounter, Lytell discovered that Rubin had broken one of

    her ribs. She experienced extreme pain and difficulty breathing. Lytell told Moore, who in turn

    told Powers, who in turn told Rubin that Rubin had broken Lytell’s rib.

           478.      In August, Rubin beat Lytell’s left breast so roughly that he left scar tissue and

    caused it to harden. This caused not only damage to the appearance of the breast, but has caused

    and continues to cause Lytell pain.

           479.      Despite the fact that both Powers and Rubin knew that Rubin had broken Lytell’s

    rib, the September encounter only exacerbated Lytell’s injury, causing further pain to her damaged

    rib and chest.

           480.      Lytell was knocked unconscious by Rubin’s punches to the back of her head during

    at least the August encounter, and sustained head trauma, facial bruising, and headaches following



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    both encounters.

           481.    Since August 2016, Lytell has suffered from depression, anxiety, and an inability

    to sleep. Each of these maladies was exacerbated following the September and October encounters,

    and each continues to this day.

           482.    Because of these physical, mental and emotional injuries, Lytell has been

    prescribed sleeping pills and anti-anxiety medication, without which she cannot sleep. Lytell is

    further considering anti-depressants at the request of her doctor, but has not yet decided whether

    to take the anti-depressants.

           483.    Because of the emotional trauma she sustained, Lytell has been unable to do any

    professional photo shoots since her encounters with Rubin.

           484.    Lytell informed Powers and Rubin of these injuries. Both Powers and Rubin urged

    Lytell to get the damage to her breasts repaired, and that they would pay for it. Not wanting any

    further association with Powers and Rubin, Lytell has not yet done so.

           485.    Once Lytell received criminal defense counsel as a result of the incident during the

    October trip, paid for by Rubin, she continued to lie regarding what happened out of fear of

    disclosing to anyone what Rubin had done.

           486.    Finally, a few weeks ago, after building up trust over months, she admitted to her

    criminal defense lawyer Rubin’s crimes and the Venture’s scope.

                                           Caldwell’s Injuries

           487.    As a result of Rubin’s abuse and the Venture’s violations of the TVPA and 18

    U.S.C. § 2422, Caldwell suffered significant injuries.

           488.    Rubin’s abuse caused damage to each of Caldwell’s breasts, but severe damage to

    her right breast. As previously described, Rubin’s beating caused Caldwell’s right breast implant



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    to flip completely around. Caldwell sustained hematomas in her right breast which caused pain

    and scarring. Caldwell’s right areola also sustained damage, such that it became enlarged and

    disproportionate to her left areola. Caldwell’s doctor recommended surgery as the only option to

    fix the appearance of the right areola, which would require actual cutting of the areola and loss of

    sensitivity. As a direct result of this injury, Caldwell lost her job and has been unable to return to

    similar work since.

           489.    Rubin’s beating also caused Caldwell to sustain bruising to her face and buttocks.

           490.    Since her encounter with Rubin, Caldwell has suffered from extreme emotional

    distress, depression, and anxiety.

           491.    Caldwell suffered from suicidal thoughts as a result and has been prescribed

    medication by her doctor.

           492.    Caldwell informed Powers and Rubin of these injuries. Both Powers and Rubin

    urged Caldwell to get the damage to her breasts repaired. Due to the extensive recovery required,

    Caldwell has not yet undergone the repair surgery.

           493.    As at least Rubin, Powers, and Shon knew, Caldwell is a model, waitress, and

    dancer whose physical appearance is critical for her ability to earn a living. As such, the damage

    Rubin caused to Caldwell’s body prevented Caldwell from working, causing Caldwell to sustain

    economic losses.

           494.    Further, the Venture caused injury to Caldwell’s personal property in the form of

    the prosthetics implanted in her breasts.

                The Venture Continues to Engage In Misconduct to this Day, and Is Likely To
                               Continue Unless Stopped By the Court

           495.    Rubin and the Venture continue their misconduct to this day.

           496.    Lytell is aware of multiple women who have complained about Rubin’s abuse and

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    about Power’s misrepresentations inducing them to enter into the arrangement in the first place.

           497.     Rubin and Powers have threatened Caldwell, Lytell, and Moore, warning each of

    them at different points that something bad could happen to them if they were to expose the

    Venture or reveal it to anyone at any time.

           498.     Indeed, Rubin and Powers both told Lytell not to disclose to her own lawyer what

    had happened.

           499.     Moreover, Rubin has told Lytell that she needs to control Caldwell and prevent her

    from going to the police or to a lawyer.

           500.     Because of the criminal charges against her due to the altercation with Zoe

    Cacciola, Lytell has had continued contact with the Venture.

           501.     Through Powers and the Doe Company, Rubin offered to pay for Lytell to hire a

    criminal defense attorney to represent her in connection with the criminal charges. Through

    Powers and the Doe Company, Rubin has also flown Lytell to New York for each of her court

    appearances and put her up in the 11 Howard hotel in SoHo.

           502.     In exchange, Rubin and Powers requested that Lytell not tell the whole story

    regarding the October encounter, and continue to keep quiet about Rubin’s ownership of the

    Penthouse, the existence of the Dungeon, and Rubin’s misconduct. Rubin and Powers requested

    that Lytell lie and say that her friend, either Zoe Cacciola or Powers actually owns the Penthouse.

           503.     As recently as August 18, 2017, Rubin and Powers attempted to convince Lytell to

    terminate her criminal attorney and allow Rubin’s attorney, Schnur, to represent Lytell in her

    criminal action.

           504.     Schnur agreed to represent Lytell, despite obvious conflicts of interest, and

    violations of her duties as an attorney.



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           505.      Rubin and Powers feared that Lytell had revealed the Venture’s secrets to her

    criminal attorney, and feared exposure.

           506.      Realizing this, and that Rubin and Powers were not acting in her best interest, Lytell

    ceased communicating with Rubin and Powers.

           507.      Powers continued to contact Lytell, attempting to convince her to come meet with

    her and Rubin.

           508.      Powers continues to do this to this day. In fact, when reviewing their WhatsApp

    messages on which Powers was previously copied, each of the Plaintiffs has seen that Powers

    continues to check their WhatsApp conversations nearly daily, monitoring whether Plaintiffs plan

    to expose the Venture.

                                 The Venture Attempts to Cover Up Its Wrongdoing

           509.      From the time the criminal prosecution of Lytell commenced, the Venture paid for

    her lawyer—Jeremy Saland—and refused to pay additional fees if the matter proceeded to trial

    because Lytell began speaking with counsel in this case. At the time Lytell retained Saland, Saland

    was unaware of the Venture, its scheme, or its members.

           510.      The Venture would only pay for Saland so long as Lytell agreed not to mention in

    the criminal trial anything about Rubin or the other members of the Venture.

           511.      On August 16, 2017, Lytell sent an email to Saland, drafted by Schnur, authorizing

    Saland “express permission to share any and all information in regards to [Lytell’s] case with Ms.

    Schnur.” Shortly after receiving this email, Saland spoke with Lytell who told him that the Venture

    had flown Lytell into New York to meet with Rubin, Schnur, and Powers. Further, the Venture

    sought to pay Lytell $80,000 to sign a retainer with Schnur and a confidentiality agreement so that

    Lytell would refrain from disclosing anything about Rubin and the Venture. Saland was unaware



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    of any of these communications or the planned meeting despite Rubin’s, Schnur’s, and Powers’s

    knowledge that Saland was Lytell’s counsel.

           512.    Upon learning of this planned meeting between Lytell, Rubin, Schnur, and Powers,

    Saland contacted Schnur with the permission of Lytell and advised Schnur both through a text

    message and on the phone that she, or any member of the Venture directly, through third parties

    or otherwise, could not communicate with Lytell. Saland reasserted that he remained Lytell’s

    counsel. Saland explained to Schnur that despite Schnur’s contention that her interest was to

    protect Lytell, Schnur in fact had an ethical conflict in that Schnur sought to solely protect the

    interests of Rubin.

           513.    Throughout the evening of August 16, 2017, Powers repeatedly called and texted

    Lytell, attempting to convince Lytell to meet on the evening of August 16, 2017, as planned,

    despite Saland’s specific instructions to Schnur that neither she nor any third party should

    communicate with Lytell. In one communication, Powers made a veiled threat to Lytell stating,

    “I’m not sure who’s going to fund what you’re doing with [Saland].”

           514.    The following day, Powers texted Lytell, “We’ve always taken care of you

    [because] we completely understand . . . we want to help you, we need to meet[.]”

           515.    Later that month, Powers texted Lytell and Caldwell, that both Lytell and Caldwell

    were “plain rude and ungrateful by deliberately not answering [Powers’s] phone calls or returning

    [Powers’s] messages.” Powers claimed that she only had the best interests of Lytell and Caldwell

    in mind. However, they should “keep in mind that both [Lytell and Caldwell] violated the [Non-

    Disclosure] agreement.”

           516.    Concerned that the Venture had lost control of and access to Lytell, Powers, on

    behalf of the Venture, again communicated with Lytell advising in substance that “although the



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    Venture paid the initial fee for Saland, [Lytell] can still call [Powers] if a final bill is presented.”

            517.        In fact, when the underlying events took place at the Penthouse that resulted in the

    current criminal prosecution of Lytell, Powers told Lytell to lie to the police and tell them that the

    Penthouse was either Lytell’s or Zoe Cacciola’s in an effort to keep Rubin and the rest of the

    Venture out of the news.

            518.        When the Venture became concerned with Lytell and her criminal counsel, it

    offered to either substitute Schnur, a member of the Venture and an attorney, or stop paying for

    Lytell’s attorney.

            519.        On September 19, 2017, counsel for Plaintiffs contacted Schnur, an attorney for

    Rubin to notify her of the impending lawsuit.

            520.        While Schnur refused to discuss the matter and has been stalling for Defendants at

    Rubin’s direction, other members of the conspiracy have attempted to intimidate Plaintiffs,

    interfere with their relationship with counsel, and have even attempted to obtain illegal access to

    Plaintiffs’ computer systems.

            521.        Since that time, multiple individuals associated with Rubin and the Venture have

    reached out to Plaintiffs at the direction of Rubin and the Venture, in an attempt to convince them

    not to file suit.

            522.        In fact, as recently as February 7, 2018, Rubin and Powers were still attempting to

    contact the women. On that date, Powers messaged Plaintiff Hopper over WhatsApp, writing

    “where are you little mama.” Upon information and belief, Powers was either trying again to

    recruit Hopper to travel to New York for Rubin, or, in the alternative, was further attempting to

    cover up the Venture’s crimes by ensuring that Hopper, who had not yet joined this lawsuit, was

    not going to come forward against Rubin.



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                                 Attempted Hacking of Plaintiffs’ Accounts

            523.   In order to cover up their crimes and further interfere with Plaintiffs’ ability to seek

    relief for the injury caused by Rubin and his associates, the Venture has accessed at least four of

    the seven Plaintiffs’ and Plaintiffs’ families’ Apple, Facebook, and Google accounts, changing the

    passwords and billing information in an attempt to interfere with evidence saved under Plaintiffs’

    accounts.

            524.   In some cases, Defendants have even deleted images documenting Plaintiffs’

    injuries from Plaintiffs’ accounts.

            525.   On information and belief, an individual or group of individuals, at the direction of

    Rubin and Powers, are either known members of the Venture, unknown additional members of the

    Venture, or are working on behalf of members of the Venture.

            526.   This illegal interference with Plaintiffs’ accounts occurred only after Defendants

    and Defendants’ counsel were contacted regarding this matter and notifying them of the impending

    lawsuit, and were designed to cover up the crimes of the Venture, to gather information regarding

    Plaintiffs’ claims, intimidate and tamper with Plaintiffs, and convince Plaintiffs not to bring suit.

            527.   Such hacking has occurred on multiple occasions to at least four of the seven

    Plaintiffs:

                   •   Doe, at the direction of Powers and Rubin, hacked into Lytell’s Apple account
                       on October 5, 2017 and October 8, 2017. Doe changed Lytell’s password and
                       Apple ID, locking Lytell out of her Apple account. After she contacted Apple
                       for assistance, Apple informed Lytell that Doe accessed Lytell’s Apple account
                       from an iPad. Lytell does not own an iPad;

                   •   Doe, at the direction of Powers and Rubin, hacked into Caldwell’s Facebook
                       account on October 8, 2017. Doe changed Caldwell’s password, locking
                       Caldwell out of her Facebook account;

                   •   Doe, at the direction of Powers and Rubin, hacked into Lytell’s Facebook
                       account on October 10, 2017. Lytell’s Facebook account was accessed from

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                       two separate IP addresses in Fort Lauderdale, Florida, neither of which was
                       associated with any device owned by Lytell;

                   •   Doe, at the direction of Powers and Rubin, hacked into a Google account
                       belonging to Lytell’s brother—who was known to both Powers and Rubin—on
                       October 10, 2017. Lytell’s brother’s account was accessed from an IP address
                       located in North Tonawanda, New York;

                   •   Doe, at the direction of Powers and Rubin, hacked into Reyes’s Apple account
                       on or around December 16, 2017. Doe changed Reyes’s password and Apple
                       ID, locking Reyes out of her Apple account, and first shared all of the images
                       stored under Reyes’s Apple ID—which Reyes had always maintained as
                       “private”—and then deleted all of the images stored under Reyes’s Apple ID;

                   •   Doe, at the direction of Powers and Rubin, hacked into Reyes’s Facebook
                       account on or around December 16, 2017. Doe changed Reyes’s password,
                       locking Reyes out of her Facebook account;

                   •   Doe, at the direction of Powers and Rubin, hacked into Reyes’s Google account
                       on or around December 16, 2017. Doe changed Reyes’s password, locking
                       Reyes out of her Facebook account;

                   •   Doe, at the direction of Powers and Rubin, hacked into Hassen’s Facebook and
                       Instagram accounts on or around February 5, 2018. Doe changed Hassen’s
                       passwords, locking Hassen out of her social media accounts;

                   •   Doe, at the direction of Powers and Rubin, hacked into Hassen’s Apple account
                       on or around February 8, 2018. Doe changed Hassen’s password and Apple ID,
                       locking Hassen out of her Apple account, and deleted several photographs
                       relating to Hassen’s interactions with Rubin. Doe accessed Hassen’s Apple
                       account through an IP address located in New York, New York; and

                   •   Doe, at the direction of Powers and Rubin, hacked into Hassen’s Google
                       account on or around February 8, 2018. Doe changed Hassen’s password,
                       locking Hassen out of her Gmail account, and deleted several emails and
                       attachments regarding Hassen’s interactions with Rubin.

           528.    Powers and Rubin knew these accounts belonged to Plaintiffs Lytell, Caldwell,

    Reyes, and Hassen. Not only had Powers and Rubin previously contacted Plaintiffs through several

    of these accounts, but such accounts were easily determined by plugging in variations of Plaintiffs’

    true names.

           529.    Such hacking by Doe, under the direction of Rubin and Powers, involved interstate

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    wires and affected interstate commerce by accessing Plaintiffs’ billing information,

    communications, and personal records.

           530.    Defendants have sought to intimidate Plaintiffs, interfere with their attorney-client

    relationships, tamper with witnesses in the eventual lawsuit against them, and illegally obtain

    access to Plaintiffs’ computer records in a bald-faced attempt to destroy evidence and to discover

    information regarding Plaintiffs’ case.

                        ACTS OF MISCONDUCT BY EACH DEFENDANT

                            Rubin Engaged in Multiple Acts of Misconduct

           531.    From at least 2010 until the present, but likely for much longer, Rubin has engaged

    in multiple acts of misconduct on at least 58 separate occasions.

           532.    These acts include the following:

           a. Violation of 18 U.S.C. § 2422: On at least three separate occasions in 2010, Rubin
              knowingly persuaded, induced, and enticed Plaintiff Tagai to travel from Las Vegas,
              Nevada, to New York, New York to engage in prostitution or in any sexual activity for
              which any person can be charged with a criminal offense.

           b. Violation of 18 U.S.C. § 2422: On multiple occasions from 2011-2014, Rubin
              knowingly persuaded, induced, and enticed Plaintiff Tagai to travel from Las Vegas,
              Nevada, to New York, New York to engage in prostitution or in any sexual activity for
              which any person can be charged with a criminal offense, or attempted to do so. In or
              around 2014, Rubin persuaded Tagai to quit her job so that she could be available to
              travel to New York once a month to engage in prostitution or in any sexual activity for
              which any person can be charged with a criminal offense. In exchange, Rubin paid
              Tagai approximately $5,000 a month.

           c. Witness Tampering: In mid-2011, Rubin directed Powers to bring Tagai to his newly
              rented Penthouse for the first time. Once at the Penthouse, under Rubin’s direction,
              Powers presented Tagai with an NDA and persuaded Tagai to sign. Rubin required
              Tagai to sign the NDA in part for the purpose of hindering, delaying, and preventing
              Tagai from communicating to law enforcement officers and courts Rubin’s possible
              commission of Federal offenses, including, without limitation, violation of 18 U.S.C.
              § 2422, and violation of the TVPA.

           d. Violation of 18 U.S.C. § 2422: Beginning in 2015 through June 2017, Rubin knowingly
              persuaded, induced, and enticed Plaintiff Tagai to travel from Chicago, Illinois, to New

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              York, New York to engage in prostitution or in any sexual activity for which any person
              can be charged with a criminal offense.

         e. Violation of the TVPA: Beginning in 2015 through June 2017, Rubin transported and
            solicited Tagai, who lived in Chicago, Illinois, to travel to New York, New York knowing
            that he would use means of force, threats of force, and coercion to cause Tagai to engage
            in commercial sex acts. Rubin began ignoring Tagai’s pleas to “stop” and forced her to
            engage in sexual intercourse and other sexual activity without her consent. On several
            occasions, Rubin went so far as to drug Tagai, rendering her unconscious, before
            sexually assaulting her.

         f. Dealing in a Controlled Substance: On one occasion in or around 2016, Rubin drugged
            Plaintiff Tagai, who had been enjoying wine and cheese in the Penthouse living room
            with Rubin, by placing an unidentified narcotic in Tagai’s wine without Tagai’s
            knowledge or consent while Tagai. Rubin’s conduct rendered Tagai unconscious, at
            which point Rubin forcibly engaged in sexual intercourse and other sexual activity
            with Tagai. Tagai later woke up in a bedroom in the Penthouse with no recollection of
            how she got there.

         g. Dealing in a Controlled Substance: On at least one other occasion in or around 2016,
            Rubin drugged Plaintiff Tagai by placing an unidentified narcotic in Tagai’s drink
            without Tagai’s knowledge or consent. Rubin’s conduct rendered Tagai unconscious,
            at which point Rubin moved Tagai to his Dungeon and proceeded to sexually assault
            Tagai. Tagai woke up in the Dungeon with no recollection of how she arrived there.

         h. Violation of 18 U.S.C. § 2422: In or around September 2011, Rubin knowingly
            persuaded, induced, and enticed Plaintiff Hassen to travel from Los Angeles,
            California, to New York, New York to engage in prostitution or in any sexual activity
            for which any person can be charged with a criminal offense, or attempted to do so.
            Rubin had his associate represent to Hassen that he was only interested in taking fetish-
            style photos of Hassen, and that Hassen would possibly experience some bruising from
            the restraint. While Hassen engaged in no sexual activity with Rubin on this occasion,
            Rubin made his intent clear.

         i.   Violation of the TVPA: In or around September 2011, Rubin transported and solicited
              Hassen, who lived in Los Angeles, California, to travel to New York knowing that he
              would use means of force, threats of force, and coercion to cause Hassen to engage in
              commercial sex acts. Rubin eventually drugged Hassen so that she was past the point
              of being able to consent.

         j.   Dealing in a Controlled Substance: In or around September 2011, Rubin provided
              Hassen with what turned out to be a Schedule II narcotic, oxycodone, and persuaded
              Hassen to take the drug without identifying what it was. Hassen had never before taken
              oxycodone, and quickly became intoxicated.

         k. Dealing in a Controlled Substance: In 2015 or 2016, Rubin brought Hassen back to the

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              Penthouse. Rubin again provided Hassen with a Schedule II narcotic, oxycodone. This
              was the first time Rubin brought Hassen back to the Dungeon, and the first time that he
              sexually assaulted her. Following the assault, Rubin had Hassen take additional
              oxycodone, telling her it would help with the pain.

         l.   Dealing in a Controlled Substance: Following the Hassen’s first experience with the
              Dungeon, Rubin continued to provide Hassen with oxycodone on a regular basis,
              causing Hassen to become dependent on the drug and on Rubin.

         m. Witness Tampering: In the summer of 2017, Rubin required Hassen to sign an NDA.
            Rubin required Hassen to sign the NDA in part for the purpose of hindering,
            delaying, and preventing Hassen from communicating to law enforcement officers and
            courts Rubin’s possible commission of Federal offenses, including, without limitation,
            violation of 18 U.S.C. § 2422, and violation of the TVPA.

         n. Violation of 18 U.S.C. § 2422: On or around March 11, 2016, Rubin knowingly
            persuaded, induced, and enticed Plaintiff Reyes to travel from Miami, Florida, to New
            York, New York to engage in prostitution or in any sexual activity for which any person
            can be charged with a criminal offense.

         o. Violation of the TVPA: On or around March 11, 2016, Rubin transported and solicited
            Reyes, who lived in Miami, Florida, to travel to New York knowing that he would use
            means of force, threats of force, and coercion to cause Reyes to engage in commercial
            sex acts. Rubin ignored Reyes’s pleas to “stop” and used means of force to cause Reyes
            engage in commercial sex acts.

         p. Dealing in a Controlled Substance: On or around March 11, 2016, after bringing her to
            the Penthouse, Rubin provided Reyes with a Schedule II substance, cocaine.

         q. Witness Tampering: On or around March 11, 2016, Rubin required Reyes to sign an
            NDA. Rubin required Reyes to sign the NDA in part for the purpose of hindering,
            delaying, and preventing Reyes from communicating to law enforcement officers and
            courts Rubin’s possible commission of Federal offenses, including, without limitation,
            violation of 18 U.S.C. § 2422, and violation of the TVPA.

         r. Violation of 18 U.S.C. § 2422: On or around March 24, 2016, Rubin knowingly
            persuaded, induced, and enticed Plaintiff Hopper to travel from Atlanta, Georgia, to
            New York, New York to engage in prostitution or in any sexual activity for which any
            person can be charged with a criminal offense, or attempted to do so. Rubin had his
            associate, Shon, convince Hopper to fly to New York, and had his other associate,
            Powers, purchase Hopper’s airfare and arrange for the travel.

         s. Witness Tampering: On or around March 24, 2016, under Rubin’s direction, Powers
            met with Hopper at the Penthouse and presented Hopper with an NDA and persuaded
            her to sign. Rubin required Hopper to sign the NDA in part for the purpose of hindering,
            delaying, and preventing Hopper from communicating to law enforcement officers and

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            courts Rubin’s possible commission of Federal offenses, including, without limitation,
            violation of 18 U.S.C. § 2422, and violation of the TVPA.

         t. Violation of 18 U.S.C. § 2422: One month later, in late April 2016, Rubin knowingly
            persuaded, induced, and enticed Plaintiff Hopper to travel from Atlanta, Georgia to
            New York, New York to engage in prostitution or in any sexual activity for which any
            person can be charged with a criminal offense. Rubin again had Powers purchase
            Hopper’s airfare and arrange for her travel.

         u. Violation of the TVPA: In late April 2016, Rubin transported and solicited Hopper, who
            lived in Atlanta, Georgia, to travel to New York knowing that he would use means of
            force, threats of force, and coercion to cause Hopper to engage in commercial sex acts.
            After forcing Hopper to drink to the point of unconsciousness, Rubin did in fact use
            force to cause Hopper to engage in commercial sex acts.

         v. Violation of 18 U.S.C. § 2422: Once a month over the next five months, from May
            through September 2016, Rubin knowingly persuaded, induced, and enticed Plaintiff
            Hopper to travel from Atlanta, Georgia, to New York, New York to engage in
            prostitution or in any sexual activity for which any person can be charged with a
            criminal offense. Rubin again had Powers purchase Hopper’s airfare and arrange for
            her travel.

         w. Violation of the TVPA: Once a month over the next five months, from May through
            September 2016, Rubin transported and solicited Hopper, who lived in Atlanta,
            Georgia, to travel to New York knowing that he would use means of force, threats of
            force, and coercion to cause Hopper to engage in commercial sex acts. On each of these
            occasions, Rubin if fact used means of force—including physical violence and drugs—
            to cause Hopper to engage in commercial sex acts. Rubin further used means of coercion
            to cause Hopper to engage in commercial sex acts when he used information provided
            to him by Shon about Hopper’s past to convince Hopper to continue returning to him.

         x. Dealing in a Controlled Substance: On at least one occasion between April and
            September 2016, Rubin provided unidentified pills to Hopper, telling Hopper that the
            pills would calm her down. Upon information and believe, these pills were the Schedule
            II narcotic, oxycodone.

         y. Violation of 18 U.S.C. § 2422: On or around August 23, 2016, Rubin knowingly
            persuaded, induced, and enticed Plaintiff Lytell to travel from Fort Lauderdale, Florida,
            to New York, New York to engage in prostitution or in any sexual activity for which any
            person can be charged with a criminal offense, or attempted to do so. Rubin had his
            associate, Shon (who referred to Rubin as her “boss”) attempt to convince Lytell to fly
            to New York, and had his other associate, Powers, purchase Lytell’s airfare and arrange
            for the travel.

         z. Violation of the TVPA: On or around August 23, 2016, Rubin transported and solicited
            Lytell who lived in Fort Lauderdale, Florida, to travel to New York knowing that he

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            would use means of force, threats of force, and coercion to cause Lytell to engage in
            commercial sex acts. Ignoring Lytell’s protests, Rubin did in fact force Lytell to engage
            in commercial sex acts.

         aa. Dealing in a Controlled Substance: On or around August 23, 2016, Rubin slipped an
             unidentified pill into Lytell’s drink without Lytell’s knowledge, causing Lytell to feel
             excessively intoxicated. Upon information and believe, this pill was the Schedule II
             narcotic, oxycodone.

         bb. Witness Tampering: On or around August 23, 2016, under Rubin’s direction, Powers
             met with Lytell at the Penthouse, provided Lytell with cocktails, and then presented
             Lytell with an NDA and persuaded her to sign. Rubin required Lytell to sign the NDA
             in part for the purpose of hindering, delaying, and preventing Lytell from
             communicating to law enforcement officers and courts Rubin’s possible commission
             of Federal offenses, including, without limitation, violation of 18 U.S.C. § 2422, and
             violation of the TVPA.

         cc. Violation of 18 U.S.C. § 2422: On or around August 23, 2016, Rubin knowingly
             persuaded, induced, and enticed Plaintiff Moore to travel from Daytona Beach, Florida,
             to New York, New York to engage in prostitution or in any sexual activity for which any
             person can be charged with a criminal offense, or attempted to do so. Rubin had his
             associate, Shon, attempt to convince Moore to fly to New York, and had his other
             associate, Powers, purchase Moore’s airfare and arrange for the travel.

         dd. Violation of the TVPA: On or around August 23, 2016, Rubin transported and solicited
             Moore who lived in Daytona Beach, Florida, to travel to New York knowing that he
             would use means of force, threats of force, and coercion to cause Moore to engage in
             commercial sex acts. Ignoring Moore’s protests, Rubin did in fact force Moore to
             engage in commercial sex acts.

         ee. Dealing in a Controlled Substance: On or around August 23, 2016, Rubin slipped an
             unidentified pill into Moore’s drink without Moore’s knowledge, causing Moore to feel
             excessively intoxicated. Upon information and believe, this pill was the Schedule II
             narcotic, oxycodone.

         ff. Witness Tampering: On or around August 23, 2016, under Rubin’s direction, Powers
             met with Moore at the Penthouse, provided Moore cocktails, and then presented Moore
             with an NDA and persuaded her to sign. Rubin required Moore to sign the NDA in part
             for the purpose of hindering, delaying, and preventing Hopper from communicating to
             law enforcement officers and courts Rubin’s possible commission of Federal offenses,
             including, without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA.

         gg. Violation of 18 U.S.C. § 2422: In September 2016, Rubin knowingly persuaded,
             induced, and enticed Plaintiff Caldwell to travel from Fort Lauderdale, Florida, to New
             York, New York to engage in prostitution or in any sexual activity for which any person
             can be charged with a criminal offense, or attempted to do so. Rubin had his associate,

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            Powers, purchase Caldwell’s airfare and arrange for the travel.

         hh. Violation of the TVPA: In September 2016, Rubin transported and solicited Caldwell
             who lived in Fort Lauderdale, Florida, to travel to New York knowing that he would
             use means of force, threats of force, and coercion to cause Caldwell to engage in
             commercial sex acts. While Rubin grew frustrated with Caldwell and did not cause her
             to engage in commercial sex acts on this occasion, this was his intent.

         ii. Witness Tampering: In September 2016, under Rubin’s direction, Powers met with
             Caldwell at the Penthouse and presented Caldwell with an NDA and persuaded her to
             sign. Rubin required Caldwell to sign the NDA in part for the purpose of hindering,
             delaying, and preventing Lytell from communicating to law enforcement officers and
             courts Rubin’s possible commission of Federal offenses, including, without limitation,
             violation of 18 U.S.C. § 2422, and violation of the TVPA.

         jj. Violation of 18 U.S.C. § 2422: On or around September 24, 2016, Rubin knowingly
             persuaded, induced, and enticed Plaintiffs Caldwell and Lytell to travel from Fort
             Lauderdale, Florida, to New York, New York to engage in prostitution or in any sexual
             activity for which any person can be charged with a criminal offense, or attempted to
             do so. Rubin had his associate, Powers, purchase Caldwell’s and Lytell’s airfare and
             arrange for the travel.

         kk. Violation of the TVPA: In September 2016, Rubin transported and solicited Caldwell
             and Lytell who lived in Fort Lauderdale, Florida, to travel to New York knowing that
             he would use means of force, threats of force, and coercion to cause Caldwell and Lytell
             to engage in commercial sex acts. Rubin did in fact use force and threats of force to
             cause Caldwell and Lytell to engage in commercial sex acts.

         ll. Witness Tampering: On or around October 4, 2016, under Rubin’s direction and using
             documents drafted by Defendant Schnur, Powers flew Caldwell to New York and met
             with her at the Penthouse. Rubin required that Caldwell sign an agreement—without
             providing Caldwell the opportunity to thoroughly review the agreement, let alone
             consult with counsel or another advisor—for the purpose of hindering, delaying, and
             preventing Lytell from communicating to law enforcement officers and courts Rubin’s
             possible commission of Federal offenses, including, without limitation, violation of 18
             U.S.C. § 2422, and violation of the TVPA.

         mm. Obstruction of Criminal Investigations: On or around October 4, 2016, Rubin
           agreed to pay—and later paid—Plaintiff Caldwell $20,000 in part to prevent
           Caldwell from communicating information regarding Rubin’s violation of multiple
           criminal statutes of the United States to a criminal investigator, including violation
           of 18 U.S.C. § 2422, and violation of the TVPA.

         nn. Violation of 18 U.S.C. § 2422: In or around October 2016, Rubin knowingly persuaded,
             induced, and enticed Plaintiff Lytell to travel from Fort Lauderdale, Florida, to New
             York, New York to engage in prostitution or in any sexual activity for which any person

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            can be charged with a criminal offense, or attempted to do so.

         oo. Violation of the TVPA: In or around October 2016, Rubin again transported and
             solicited Lytell who lived in Fort Lauderdale, Florida, to travel to New York knowing
             that he would use means of force, threats of force, and coercion to cause Lytell to engage
             in commercial sex acts. Ignoring Lytell’s protests, Rubin did in fact force Lytell to
             engage in commercial sex acts. While Lytell became so sick with her anxiety over
             encountering Rubin again that she had to be hospitalized and did not engage in any
             commercial sex acts, such was Rubin’s intent.

         pp. Witness Tampering: In or around October 2016, Rubin had Powers instruct Lytell to lie
             to the police regarding who owned or rented the Penthouse and for the purpose of
             hindering, delaying, and preventing Lytell from communicating to law enforcement
             officers and courts Rubin’s possible commission of Federal offenses, including, without
             limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. Because Lytell
             feared Rubin, she did as she was told.

         qq. Violation of 18 U.S.C. § 2422: In or around December 2016, Rubin knowingly
             persuaded, induced, and enticed Plaintiff Moore to travel from Daytona Beach, Florida,
             to New York, New York to engage in prostitution or in any sexual activity for which any
             person can be charged with a criminal offense, or attempted to do so. Powers again
             purchased Moore’s airfare and arranged for the travel.

         rr. Violation of the TVPA: In or around December 2016, Rubin transported and solicited
             Moore who lived in Daytona Beach, Florida, to travel to New York knowing that he
             would use means of force, threats of force, and coercion to cause Moore to engage in
             commercial sex acts. Ignoring Moore’s protests, Rubin did in fact force Moore to
             engage in commercial sex acts.

         ss. Witness Tampering: On around August 18, 2017, Rubin told Lytell not to disclose to
             her own lawyer what had occurred at Rubin’s Penthouse or what had actually occurred
             with her interactions with Cacciola. Powers did so for the purpose of hindering,
             delaying, and preventing Lytell from communicating to law enforcement officers and
             courts Rubin’s possible commission of Federal offenses, including, without limitation,
             violation of 18 U.S.C. § 2422, and violation of the TVPA.

         tt. Obstruction of Criminal Investigations: On or around August 18, 2017, Rubin paid
             Lytell’s legal bills in order to prevent Lytell from communicating information regarding
             Rubin’s violation of multiple criminal statutes of the United States to a criminal
             investigator, including violation of 18 U.S.C. § 2422, and violation of the TVPA.

         uu. Witness Tampering: On October 5, 2017 Powers and Rubin directed Doe to hack into
             Lytell’s Apple account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this

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             date, this action had already been initiated in the Eastern District of New York.

        vv. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
             Lytell’s Apple account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         ww. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
           Caldwell’s Facebook account for the purpose of hindering, delaying, and preventing
           communication to a law enforcement officer or judge of the United States of
           information relating to the commission of the Venture’s Federal offenses, including,
           without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
           date, this action had already been initiated in the Eastern District of New York.

         xx. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
             Lytell’s Facebook account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         yy. Witness Tampering: On or around December 16, 2017, Powers and Rubin directed Doe
             to hack into Reyes’s Apple account for the purpose of hindering, delaying, and
             preventing communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.
         zz. Witness Tampering: On December 16, 2017, Powers and Rubin directed Doe to hack
             into Reyes’s Facebook account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         aaa.Witness Tampering: On December 16, 2017, Powers and Rubin directed Doe to
             hack into Reyes’s Google account for the purpose of hindering, delaying, and
             preventing communication to a law enforcement officer or judge of the United States of
             information relating to the commission of the Venturee’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         bbb. Witness Tampering: On or around February 5, 2018, Powers and Rubin directed Doe
            to hack into Hassen’s Facebook and Instagram accounts for the purpose of hindering,
            delaying, and preventing communication to a law enforcement officer or judge of the

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               United States of information relating to the commission of the Venture’s Federal
               offenses, including, without limitation, violation of 18 U.S.C. § 2422, and violation of
               the TVPA. By this date, this action had already been initiated in the Eastern District of
               New York.

           ccc. Witness Tampering: On or around February 8, 2018, Powers and Rubin directed
               Doe to hack into Hassen’s Apple account for the purpose of hindering, delaying, and
               preventing communication to a law enforcement officer or judge of the United States
               of information relating to the commission of the Venture’s Federal offenses, including,
               without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
               date, this action had already been initiated in the Eastern District of New York.

           ddd. Witness Tampering: On or around February 8, 2018, Powers and Rubin directed Doe
              to hack into Hassen’s Google account for the purpose of hindering, delaying, and
              preventing communication to a law enforcement officer or judge of the United States
              of information relating to the commission of the Venture’s Federal offenses, including,
              without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
              date, this action had already been initiated in the Eastern District of New York.

           eee. Violation of 18 U.S.C. § 2422: As recently as February 7, 2018, Rubin
               knowingly attempted to persuade, induce, entice, or coerce Plaintiff Hopper to travel
               from Atlanta, Georgia to New York, New York to engage in prostitution or in any
               sexual activity for which any person can be charged with a criminal offense. Hopper
               refused to respond.

           fff.Violation of the TVPA: As recently as February 7, 2018, Rubin recruited, enticed, and
               solicited Hopper, who lives in Atlanta, Georgia, to travel to New York knowing that
               Rubin would use means of force, threats of force, and coercion to cause Lytell to engage
               in commercial sex acts.

                            Powers Engaged in Multiple Acts of Misconduct

           533.    From at least 2011 until the present, Powers has engaged in multiple acts of

    misconduct on at least 42 separate occasions.

           534.    These acts include the following:

           a. Witness Tampering: In mid-2011, Powers brought Tagai to Rubin’s newly rented
              Penthouse for the first time. Once at the Penthouse, Powers presented Tagai with an
              NDA and persuaded Tagai to sign. Powers had Tagai sign the NDA in part for the
              purpose of hindering, delaying, and preventing Tagai from communicating to law
              enforcement officers and courts Rubin’s possible commission of Federal offenses,
              including, without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA.

           b. Violation of the TVPA: Beginning in 2015 through June 2017, Powers transported and

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              maintained Tagai for Rubin knowing—or acting in reckless disregard of the fact—that
              Rubin would use means of force, threats of force, and coercion to cause Tagai to engage
              in commercial sex acts. Additionally, by providing the means through which Rubin
              paid Tagai and because she was paid by Rubin or the Doe Company for her assistance,
              Powers benefited financially from participation in a venture which has engaged in
              recruiting, enticing, harboring, transporting, providing, advertising, maintaining,
              patronizing, or soliciting Tagai. Powers had actual knowledge of Rubin’s use of force
              as she would meet with Tagai after her encounters with Rubin and even provided Tagai
              with special cream to treat the appearance of Tagai’s injuries.

         c. Violation of the TVPA: In early March 2016, Powers paid Reyes, on Rubin’s behalf, via
            PayPal. By doing so, Powers maintained Reyes for Rubin knowing—or acting in
            reckless disregard of the fact—that Rubin had used means of force, threats of force, and
            coercion to cause Reyes to engage in commercial sex acts. Additionally, by providing
            the means through which Rubin paid Reyes and because she was paid by Rubin or the
            Doe Company for her assistance, Powers benefited financially from participation in a
            venture which has engaged in recruiting, enticing, harboring, transporting, providing,
            advertising, maintaining, patronizing, or soliciting Reyes.

         d. Violation of the TVPA: On or around March 24, 2016, Powers transported and
            maintained Hopper for Rubin knowing—or acting in reckless disregard of the fact—
            that Rubin would use means of force, threats of force, and coercion to cause Hopper to
            engage in commercial sex acts. Because she was paid by Rubin or the Doe Company
            for her assistance, Powers benefited financially from participation in a venture which
            has engaged in recruiting, enticing, harboring, transporting, providing, advertising,
            maintaining, patronizing, or soliciting Hopper.

         e. Witness Tampering: In or around March 2016, Powers met with Hopper at the
            Penthouse and presented Hopper with an NDA and persuaded her to sign, in part for the
            purpose of hindering, delaying, and preventing Hopper from communicating to law
            enforcement officers and courts Rubin’s possible commission of Federal offenses,
            including, without limitation, violation of 18
            U.S.C. § 2422, and violation of the TVPA.

         f.   Violation of the TVPA: On or around March 24, 2016, Powers transported and
              maintained Hopper for Rubin knowing—or acting in reckless disregard of the fact—
              that Rubin would use means of force, threats of force, and coercion to cause Hopper to
              engage in commercial sex acts. Because she was paid by Rubin or the Doe Company
              for her assistance, Powers benefited financially from participation in a venture which
              has engaged in recruiting, enticing, harboring, transporting, providing, advertising,
              maintaining, patronizing, or soliciting Hopper.

         g. Violation of the TVPA: Once a month over the next five months, from May through
            September 2016, Powers transported and maintained Hopper for Rubin knowing—or
            acting in reckless disregard of the fact—that Rubin would use means of force, threats
            of force, and coercion to cause Hopper to engage in commercial sex acts. Because she

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              was paid by Rubin or the Doe Company for her assistance, Powers benefited financially
              from participation in a venture which has engaged in recruiting, enticing, harboring,
              transporting, providing, advertising, maintaining, patronizing, or soliciting Hopper.

         h. Violation of 18 U.S.C. § 2422: On or around August 23, 2016, at Rubin’s direction,
            Powers knowingly persuaded, induced, and enticed Plaintiff Lytell to travel from Fort
            Lauderdale, Florida, to New York, New York to engage in prostitution or in any sexual
            activity for which any person can be charged with a criminal offense. Powers lied to
            Lytell, telling her that Rubin was “a great guy” and that he would not do anything to
            make Lytell feel uncomfortable.

         i.   Violation of the TVPA: On or around August 23, 2016, Powers recruited, enticed,
              transported, maintained, and solicited Lytell, who lived in Fort Lauderdale, Florida, to
              travel to New York knowing that Rubin would use means of force, threats of force, and
              coercion to cause Lytell to engage in commercial sex acts. Because she was paid by
              Rubin or the Doe Company for her assistance, Powers benefited financially from
              participation in a venture which has engaged in recruiting, enticing, harboring,
              transporting, providing, advertising, maintaining, patronizing, or soliciting Lytell.

         j.   Wire fraud: On or around August 23, 2016, through text messages, phone calls, and
              emails, Powers made representations to Lytell regarding Rubin, stating that he was “a
              great guy” and that he would not do anything to make Lytell feel uncomfortable. These
              representations, which induced Lytell to travel to New York to meet with Rubin were
              false. Powers was paid by the Venture for making these misrepresentations.

         k. Witness Tampering: On or around August 23, 2016, Powers met with Lytell at the
            Penthouse, provided Lytell with cocktails, and then presented Lytell with an NDA and
            persuaded her to sign, in part for the purpose of hindering, delaying, and preventing
            Lytell from communicating to law enforcement officers and courts the Venture’s
            possible commission of Federal offenses, including, without limitation, violation of 18
            U.S.C. § 2422, and violation of the TVPA.

         l.   Violation of 18 U.S.C. § 2422: On or around August 23, 2016, at Rubin’s direction,
              Powers knowingly persuaded, induced, and enticed Plaintiff Moore to travel from
              Daytona Beach, Florida, to New York, New York to engage in prostitution or in any
              sexual activity for which any person can be charged with a criminal offense. Powers lied
              to Moore, noting that the trip would not be about sex, in order to induce her to come to
              New York.

         m. Violation of the TVPA: On or around August 23, 2016, Powers recruited, enticed,
            transported, maintained, and solicited Moore who lived in Daytona Beach, Florida, to
            travel to New York knowing that Rubin would use means of force, threats of force, and
            coercion to cause Moore to engage in commercial sex acts. Because she was paid by
            Rubin or the Doe Company for her assistance, Powers benefited financially from
            participation in a venture which has engaged in recruiting, enticing, harboring,
            transporting, providing, advertising, maintaining, patronizing, or soliciting Moore.

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         n. Wire fraud: On or around August 23, 2016, through text messages, phone calls, and
            emails, Powers made representations to Moore regarding Rubin, stating that the trip was
            not about sexual intercourse. These representations, which induced Moore to travel to
            New York to meet with Rubin were false. Powers was paid by the Venture for making
            these misrepresentations.

         o. Witness Tampering: On or around August 23, 2016, Powers met with Moore at the
            Penthouse, provided Lytell with cocktails, and then presented Moore with an NDA and
            persuaded her to sign, in part for the purpose of hindering, delaying, and preventing
            Moore from communicating to law enforcement officers and courts the Venture’s
            possible commission of Federal offenses, including, without limitation, violation of 18
            U.S.C. § 2422, and violation of the TVPA.

         p. Violation of 18 U.S.C. § 2422: In September 2016, at Rubin’s direction, Powers
            knowingly persuaded, induced, and enticed Plaintiff Caldwell to travel from Fort
            Lauderdale, Florida, to New York, New York to engage in prostitution or in any sexual
            activity for which any person can be charged with a criminal offense.

         q. Violation of the TVPA: In September 2016, Powers recruited, enticed, transported,
            maintained, and solicited Caldwell who lived in Fort Lauderdale, Florida, to travel to
            New York knowing that Rubin would use means of force, threats of force, and coercion
            to cause Caldwell to engage in commercial sex acts. Because she was paid by Rubin or
            the Doe Company for her assistance, Powers benefited financially from participation in
            a venture which has engaged in recruiting, enticing, harboring, transporting, providing,
            advertising, maintaining, patronizing, or soliciting Caldwell.

         r. Wire fraud: In September 2016, through text messages, phone calls, and emails, Powers
            made representations to Caldwell regarding Rubin. These representations, which
            induced Lytell to travel to New York to meet with Rubin, were false. Powers was paid
            by the Venture for making these misrepresentations.

         s. Witness Tampering: In September 2016, Powers met with Caldwell at the Penthouse
            and presented Caldwell with an NDA and persuaded her to sign, in part for the purpose
            of hindering, delaying, and preventing Caldwell from communicating to law
            enforcement officers and courts the Venture’s possible commission of Federal
            offenses, including, without limitation, violation of 18
            U.S.C. § 2422, and violation of the TVPA.

         t.   Violation of 18 U.S.C. § 2422: On or around September 24, 2016, at Rubin’s direction,
              Powers knowingly persuaded, induced, and enticed Plaintiff Caldwell and Plaintiff
              Lytell to travel from Fort Lauderdale, Florida, to New York, New York to engage in
              prostitution or in any sexual activity for which any person can be charged with a
              criminal offense.

         u. Violation of the TVPA: On or around September 24, 2016, Powers recruited, enticed,

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            transported, maintained, and solicited Caldwell and Lytell who lived in Fort
            Lauderdale, Florida, to travel to New York knowing that Rubin would use means of
            force, threats of force, and coercion to cause Caldwell and Lytell to engage in
            commercial sex acts. Because she was paid by Rubin or the Doe Company for her
            assistance, Powers benefited financially from participation in a venture which has
            engaged in recruiting, enticing, harboring, transporting, providing, advertising,
            maintaining, patronizing, or soliciting Caldwell and Lytell.

         v. Witness Tampering: On or around October 4, 2016, under Rubin’s direction and using
            documents drafted by Defendant Schnur, Powers flew Caldwell to New York and met
            with her at the Penthouse. Rubin required that Caldwell sign an agreement—without
            providing Caldwell the opportunity to thoroughly review the agreement, let alone
            consult with counsel or another advisor—for the purpose of hindering, delaying, and
            preventing Lytell from communicating to law enforcement officers and courts Rubin’s
            possible commission of Federal offenses, including, without limitation, violation of 18
            U.S.C. § 2422, and violation of the TVPA.

         w. Obstruction of Criminal Investigations: On or around October 4, 2016, Powers assisted
            Rubin when he agreed to pay—and later paid—Plaintiff Caldwell $20,000 in part to
            prevent Caldwell from communicating information regarding Rubin’s violation of
            multiple criminal statutes of the United States to a criminal investigator, including
            violation of 18 U.S.C. § 2422, and violation of the TVPA. Powers made each payment
            to Caldwell through her personal PayPal account.

         x. Violation of 18 U.S.C. § 2422: In or around October 2016, at Rubin’s direction, Powers
            knowingly persuaded, induced, and enticed Plaintiff Lytell to travel from Fort
            Lauderdale, Florida, to New York, New York to engage in prostitution or in any sexual
            activity for which any person can be charged with a criminal offense.

         y. Violation of the TVPA: In or around October 2016, Powers recruited, enticed,
            transported, maintained, and solicited Lytell who lived in Fort Lauderdale, Florida, to
            travel to New York, New York knowing that Rubin would use means of force, threats
            of force, and coercion to cause Lytell to engage in commercial sex acts. Because she
            was paid by Rubin or the Doe Company for her assistance, Powers benefited financially
            from participation in a venture which has engaged in recruiting, enticing, harboring,
            transporting, providing, advertising, maintaining, patronizing, or soliciting Lytell.

         z. Witness Tampering: In or around October 2016, Powers instructed Lytell to lie to the
            police regarding who owned or rented the Penthouse and for the purpose of hindering,
            delaying, and preventing Lytell from communicating to law enforcement officers and
            courts Rubin’s possible commission of Federal offenses, including, without limitation,
            violation of 18 U.S.C. § 2422, and violation of the TVPA. Because Lytell feared Rubin,
            she did as she was told.

         aa. Violation of 18 U.S.C. § 2422: In or around December 2016, at Rubin’s direction,
             Powers knowingly persuaded, induced, and enticed Plaintiff Moore to travel from

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            Daytona Beach, Florida, to New York, New York to engage in prostitution or in any
            sexual activity for which any person can be charged with a criminal offense.

         bb. Violation of the TVPA: In or around December 2016, Powers recruited, enticed,
             transported, maintained, and solicited Moore who lived in Daytona Beach, Florida, to
             travel to New York knowing that Rubin would use means of force, threats of force, and
             coercion to cause Lytell to engage in commercial sex acts. Because she was paid by
             Rubin or the Doe Company for her assistance, Powers benefited financially from
             participation in a venture which has engaged in recruiting, enticing, harboring,
             transporting, providing, advertising, maintaining, patronizing, or soliciting Moore.

         cc. Witness Tampering: On around August 18, 2017, Powers told Lytell not to disclose to
             her own lawyer what occurred at Rubin’s Penthouse or what had actually occurred with
             her interactions with Cacciola. Powers did so for the purpose of hindering, delaying,
             and preventing Lytell from communicating to law enforcement officers and courts
             Rubin’s possible commission of Federal offenses, including, without limitation,
             violation of 18 U.S.C. § 2422, and violation of the TVPA.

         dd.Obstruction of Criminal Investigations: On or around August 18, 2017, Powers
            facilitated Rubin’s payment of Lytell’s legal bills in order to prevent Lytell from
            communicating information regarding Rubin’s violation of multiple criminal statutes of
            the United States to a criminal investigator, including violation of 18 U.S.C. § 2422,
            and violation of the TVPA. When Lytell expressed reservations with going along with
            Powers’s and Rubin’s plan, Powers threatened Lytell.

         ee. Witness Tampering: On October 5, 2017, Powers and Rubin directed Doe to hack into
             Lytell’s Apple account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         ff. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
             Lytell’s Apple account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         gg. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
             Caldwell’s Facebook account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.


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         hh. Witness Tampering: On October 8, 2017, Powers and Rubin directed Doe to hack into
             Lytell’s Facebook account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         ii. Witness Tampering: On or around December 16, 2017, Powers and Rubin directed Doe
             to hack into Reyes’s Apple account for the purpose of hindering, delaying, and
             preventing communication to a law enforcement officer or judge of the United States
             of information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         jj. Witness Tampering: On December 16, 2017, Powers and Rubin directed Doe to hack
             into Reyes’s Facebook account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         kk. Witness Tampering: On December 16, 2017, Powers and Rubin directed Doe to hack
             into Reyes’s Google account for the purpose of hindering, delaying, and preventing
             communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,
             without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
             date, this action had already been initiated in the Eastern District of New York.

         ll. Witness Tampering: On or around February 5, 2018, Powers and Rubin directed Doe to
             hack into Hassen’s Facebook and Instagram accounts for the purpose of hindering,
             delaying, and preventing communication to a law enforcement officer or judge of the
             United States of information relating the commission of the Venture’s Federal offenses,
             including, without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA.
             By this date, this action had already been initiated in the Eastern District of New York.

         mm. Witness Tampering: On or around February 8, 2018, Powers and Rubin directed Doe
           to hack into Hassen’s Apple account for the purpose of hindering, delaying, and
           preventing communication to a law enforcement officer or judge of the United States
           of information relating the commission of the Venture’s Federal offenses, including,
           without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
           date, this action had already been initiated in the Eastern District of New York.

         nn. Witness Tampering: On or around February 8, 2018, Powers and Rubin directed Doe
             to hack into Hassen’s Google account for the purpose of hindering, delaying, and
             preventing communication to a law enforcement officer or judge of the United States of
             information relating the commission of the Venture’s Federal offenses, including,

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               without limitation, violation of 18 U.S.C. § 2422, and violation of the TVPA. By this
               date, this action had already been initiated in the Eastern District of New York.

           oo. Violation of 18 U.S.C. § 2422: As recently as February 7, 2018, at Rubin’s direction,
               Powers knowingly attempted to persuade, induce, entice, or coerce Plaintiff Hopper to
               travel from Atlanta, Georgia to New York, New York to engage in prostitution or in
               any sexual activity for which any person can be charged with a criminal offense.
               Hopper refused to respond.

           pp. Violation of the TVPA: As recently as February 7, 2018, Powers recruited, enticed, and
               solicited Hopper, who lives in Atlanta, Georgia, to travel to New York knowing that
               Rubin would use means of force, threats of force, and coercion to cause Lytell to engage
               in commercial sex acts. Because she was paid by Rubin or the Doe Company for her
               assistance, Powers benefited financially from participation in a venture which has
               engaged in recruiting, enticing, harboring, transporting, providing, advertising,
               maintaining, patronizing, or soliciting Hopper.

                          FIRST CAUSE OF ACTION: ALL PLAINTIFFS
                    (Violation Of Human Trafficking Laws, 18 U.S.C. § 1591(a) -
               All Plaintiffs Against Rubin; Plaintiffs Lytell, Moore, Caldwell, Tagai,
                                 Hopper, and Reyes Against Powers)

           535.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           536.    Defendants knowingly affected interstate commerce by recruiting, enticing,

    harboring, transporting, obtaining, maintaining, and soliciting Plaintiffs and others by any means

    knowing—or in reckless disregard of the fact—that Rubin would use means of force, threats of

    force, fraud, and coercion to cause Plaintiffs and others to engage in commercial sex acts.

           537.    Further, all Defendants benefited, financially or by receiving something of value,

    from participating in a venture which has engage in recruiting, enticing, harboring, transporting,

    obtaining, maintaining, and soliciting Plaintiffs and others by any means knowing—or in reckless

    disregard of the fact—that Rubin would use means of force, threats of force, fraud, and coercion

    to cause Plaintiffs and others to engage in commercial sex acts.

           538.    The venture was a group consisting of at least Rubin, Powers, and the Doe

    Company.


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           539.    As a direct result of Defendants’ violations of 18 U.S.C. § 1591(a), Plaintiffs each

    suffered serious injury and damages in an amount to be determined at trial.

                               SECOND CAUSE OF ACTION: TAGAI
                                       (Assault - Rubin)

           540.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           541.    On numerous occasions, but specifically on June 12, 2017, Defendant Rubin acted,

    intending to cause harmful or offensive contact with Tagai.

           542.    Plaintiff Tagai reasonably believed she was about to be touched in a harmful or

    offensive manner.

           543.    Plaintiff Tagai did not consent to be touched in this harmful and offensive manner.

           544.    Plaintiff Tagai was harmed by Rubin’s conduct, suffering extreme emotional and

    mental anguish.

           545.    Rubin’s conduct was a substantial factor in causing Plaintiff’s harm.


                                THIRD CAUSE OF ACTION: TAGAI
                                        (Battery - Rubin)

           546.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           547.    On June 12, 2017, Defendant Rubin physically and intentionally attacked Plaintiff

    Tagai, and beating Tagai about the face and breasts, causing bruising and damages to Tagai’s

    breasts.

           548.    Tagai did not consent to these acts by Defendant Rubin.

           549.    As a direct and proximate result of Defendant Rubin’s battery, Plaintiff suffered

    monetary as well as non-economic damages, including emotional trauma and mental and physical

    anguish in an amount to be determined at trial.




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                                FOURTH CAUSE OF ACTION: TAGAI
                                   (False Imprisonment - Rubin)

             550.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

             551.   On multiple occasions, including June 12, 2017, Rubin restrained and detained

    Tagai against her will.

             552.   This restraint and detention, done without the consent of Tagai was unlawful. In

    detaining Tagai, Rubin exercised force, drugging, beating, and gagging Tagai so that she was

    unable to protest. This force compelled Tagai to remain in Rubin’s Dungeon when she

    wished to leave.

             553.   Rubin’s false imprisonment of Tagai caused Tagai physical and mental suffering

    and humiliation.

                                 FIFTH CAUSE OF ACTION: TAGAI
                         (Intentional Infliction of Emotional Distress - Powers,
                                                  Rubin)

             554.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

             555.   In the course of battering Plaintiff Tagai on June 12, 2017, Defendants Rubin and

    Powers embarked on a malicious, willful, and grossly negligent course of conduct intended to

    cause Plaintiff Tagai to suffer extreme mental and emotional distress, agony, and anxiety.

             556.   Defendants’ conduct was intentional and malicious.

             557.   Defendants’ conduct was extreme and outrageous and is utterly intolerable in a

    civilized community.

             558.   Defendants’ conduct was calculated to and did cause emotional distress to Plaintiff

    Tagai.

             559.   As a direct and proximate result of Defendants’ intentional and negligent infliction

    of emotional distress, Plaintiff Tagai has suffered economic damages, and has suffered and

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    continues to suffer non-economic damages, including mental and emotional injury and detrimental

    psychological trauma in an amount to be determined at trial.

                                SIXTH CAUSE OF ACTION: HASSEN
                                        (Assault – Rubin)

           560.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           561.    In July 2017, Defendant Rubin acted, intending to cause harmful or offensive

    contact with Hassen.

           562.    Plaintiff Hassen reasonably believed she was about to be touched in a harmful or

    offensive manner.

           563.    Plaintiff Hassen did not consent to be touched in this harmful and offensive manner.

           564.    Plaintiff Hassen was harmed by Rubin’s conduct, suffering extreme emotional and

    mental anguish.

           565.    Rubin’s conduct was a substantial factor in causing Plaintiff’s harm.

                              SEVENTH CAUSE OF ACTION: HASSEN
                                       (Battery – Rubin)

           566.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           567.    Defendant Rubin physically and intentionally attacked Plaintiff Hassen in July of

    2017, punching Hassen all over her body, and beating Hassen about the face and breasts, causing

    bruising and damages to Hassen’s face.

           568.    As a direct and proximate result of Defendant Rubin’s battery, Plaintiff suffered

    monetary as well as non-economic damages, including emotional trauma and mental and physical

    anguish in an amount to be determined at trial.

                              EIGHTH CAUSE OF ACTION: HASSEN
                                  (False Imprisonment – Rubin)

           569.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

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             570.   In July 2017, Rubin restrained and detained Hassen against her will.

             571.   This restraint and detention, done without the consent of Hassen, was unlawful. In

    detaining Hassen, Rubin exercised force, drugging, beating, and gagging Hassen so that she was

    unable to protest. This force compelled Hassen to remain in Rubin’s Dungeon when she wished to

    leave.

             572.   Rubin’s false imprisonment of Hassen caused Hassen physical and mental suffering

    and humiliation.

             573.   As a direct and proximate result of Defendant Rubin’s false imprisonment, Hassen

    suffered monetary as well as non-economic damages, including emotional trauma and mental and

    physical anguish in an amount to be determined at trial.

                                NINTH CAUSE OF ACTION: HASSEN
                          (Intentional Infliction of Emotional Distress – Rubin)

             574.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

             575.   In the course of battering Plaintiff Hassen in July of 2017, Defendant Rubin

    embarked on a malicious, willful, and grossly negligent course of conduct intended to cause

    Plaintiff Hassen to suffer extreme mental and emotional distress, agony, and anxiety.

             576.   Defendant’s conduct was intentional and malicious.

             577.   Defendant’s conduct was extreme and outrageous and is utterly intolerable in a

    civilized community.

             578.   Defendant’s conduct was calculated to and did cause emotional distress to Plaintiff

    Hassen.

             579.   As a direct and proximate result of Defendant’s intentional and negligent infliction

    of emotional distress, Plaintiff Hassen has suffered economic damages, and has suffered and

    continues to suffer non-economic damages, including mental and emotional injury and detrimental

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    psychological trauma in an amount to be determined at trial.

                               TENTH CAUSE OF ACTION: HOPPER
                                       (Assault - Rubin)

           580.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           581.    On or around November 21, 2016, January 31, 2017, and May 26, 2017, Defendant

    Rubin acted, intending to cause harmful or offensive contact with Hopper.

           582.    Plaintiff Hopper reasonably believed she was about to be touched in a harmful or

    offensive manner.

           583.    Plaintiff Hopper did not consent to be touched in this harmful and offensive

    manner.

           584.    Plaintiff Hopper was harmed by Rubin’s conduct, suffering extreme emotional and

    mental anguish.

           585.    Rubin’s conduct was a substantial factor in causing Plaintiff’s harm.


                            ELEVENTH CAUSE OF ACTION: HOPPER
                                      (Battery - Rubin)

           586.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           587.    On or around November 21, 2016, January 31, 2017, and May 26, 2017, Defendant

    Rubin physically and intentionally attacked Plaintiff Hopper

           588.    Hopper did not consent to these acts by Defendant Rubin.

           589.    As a direct and proximate result of Defendant Rubin’s battery, Plaintiff suffered

    monetary as well as non-economic damages, including emotional trauma and mental and physical

    anguish in an amount to be determined at trial.




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                             TWELFTH CAUSE OF ACTION: HOPPER
                                 (False Imprisonment - Rubin)

           590.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           591.    On or around November 21, 2016, January 31, 2017, and May 26, 2017, Rubin

    restrained and detained Hopper against her will.

           592.    This restraint and detention, done without the consent of Hopper was unlawful. In

    detaining Hopper, Rubin exercised force, drugging, beating, and gagging Hopper so that she was

    unable to protest. This force compelled Hopper to remain in Rubin’s Dungeon when she wished

    to leave.

           593.    Rubin’s false imprisonment of Hopper caused Hopper physical and mental

    suffering and humiliation.

                          THIRTEENTH CAUSE OF ACTION: HOPPER
                        (Intentional Infliction of Emotional Distress - Rubin)

           594.    Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           595.    In the course of battering Plaintiff Hopper on or around November 21, 2016,

    January 31, 2017, and May 26, 2017, Defendant Rubin embarked on a malicious, willful, and

    grossly negligent course of conduct intended to cause Plaintiff Hopper to suffer extreme mental

    and emotional distress, agony, and anxiety.

           596.    Defendant’s conduct was intentional and malicious.

           597.    Defendant’s conduct was extreme and outrageous and is utterly intolerable in a

    civilized community.

           598.    Defendant’s conduct was calculated to and did cause emotional distress to Plaintiff

    Hopper.

           599.    As a direct and proximate result of Defendant’s intentional and negligent infliction


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    of emotional distress, Plaintiff Hopper has suffered economic damages, and has suffered and

    continues to suffer non-economic damages, including mental and emotional injury and detrimental

    psychological trauma in an amount to be determined at trial.

                          FOURTEENTH CAUSE OF ACTION: MOORE
                                    (Assault - Rubin)

           600.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           601.   In December 2016, Defendant Rubin acted, intending to cause harmful or offensive

    contact with Moore.

           602.   Plaintiff Moore reasonably believed she was about to be touched in a harmful or

    offensive manner.

           603.   Plaintiff Moore did not consent to be touched in this harmful and offensive manner.

           604.   Plaintiff Moore was harmed by Rubin’s conduct, suffering extreme emotional and

    mental anguish.

           605.   Rubin’s conduct was a substantial factor in causing Plaintiff’s harm.

                           FIFTEENTH CAUSE OF ACTION: MOORE
                                     (Battery - Rubin)

           606.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

           607.   In December 2016, Defendant Rubin again physically and intentionally attacked

    Plaintiff Moore, repeatedly shocking Moore in and around the vagina with a cattle prod, and

    penetrating Moore against her will, causing interior and exterior damage to Moore’s vagina. Rubin

    again beat Moore about the face and breasts, causing bruising and further damages to Moore’s

    breasts, including Moore’s breast implants.

           608.   Moore did not consent to these acts by Defendant Rubin.

           609.   As a direct and proximate result of Defendant Rubin’s battery, Plaintiff suffered


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    monetary as well as non-economic damages, including emotional trauma and mental and physical

    anguish in an amount to be determined at trial.

                             SIXTEENTH CAUSE OF ACTION: MOORE
                                   (False Imprisonment - Rubin)

             610.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

             611.   In December 2016, Rubin restrained and detained Moore against her will.

             612.   This restraint and detention, done without the consent of Moore, was unlawful. In

    detaining Moore, Rubin exercised force, drugging, beating, and gagging Moore so that she was

    unable to protest. This force compelled Moore to remain in Rubin’s Dungeon when she wished to

    leave.

             613.   Rubin’s false imprisonment of Moore caused Moore physical and mental suffering

    and humiliation.

                           SEVENTEENTH CAUSE OF ACTION: MOORE
                         (Intentional Infliction of Emotional Distress - Powers,
                                                  Rubin)

             614.   Plaintiffs repeat and reallege the allegations made above as if fully set forth herein.

             615.   In the course of battering Plaintiff Moore, Defendants Rubin and Powers embarked

    on a malicious, willful, and grossly negligent course of conduct intended to cause Plaintiff Moore

    to suffer extreme mental and emotional distress, agony, and anxiety.

             616.   Defendants’ conduct was intentional and malicious.

             617.   Defendants’ conduct was extreme and outrageous and is utterly intolerable in a

    civilized community.

             618.   Defendants’ conduct was calculated to and did cause emotional distress to Plaintiff

    Moore.

             619.   As a direct and proximate result of Defendants’ intentional and negligent infliction

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    of emotional distress, Plaintiff Moore has suffered economic damages, and has suffered and

    continues to suffer non-economic damages, including mental and emotional injury and detrimental

    psychological trauma in an amount to be determined at trial.

                                        PRAYER FOR RELIEF

               WHEREFORE, by reason of the foregoing, Plaintiffs demand judgment against

        Defendants as follows:

               A.      At least $3 million in compensatory damages for each Plaintiff for the

               injuries of Plaintiffs caused by the Venture and its individual members;

               B.      A permanent injunction enjoining Defendants, their partners, subsidiaries,

               agents, servants, and employees, and all persons acting under, in concert with them

               directly or indirectly, or in any manner, from in any way engaging in the Venture

               of any of the practices or crimes set forth herein;

               C.      Imposition of a constructive trust upon all assets associated with the`

               Venture;

               D.      Compensatory and punitive damages for injury caused to Plaintiff Tagai;

               E.      Compensatory and punitive damages for injury caused to Plaintiff Hassen;

               F.      Compensatory and punitive damages for injury caused to Plaintiff Reyes;

               G.      Compensatory and punitive damages for injury caused to Plaintiff Hopper;

               H.      Compensatory and punitive damages for injury caused to Plaintiff Lytell;

               I.      Compensatory and punitive damages for injury caused to Plaintiff Moore;

               J.      Compensatory and punitive damages for injury caused to Plaintiff

               Caldwell;

               K.      Punitive damages pursuant to the civil remedy for human trafficking in


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             18 U.S.C. § 1595;

             L.      Attorneys’ fees pursuant to the civil remedy for human trafficking in 18

             U.S.C. § 1595(a);

             M.      Punitive damages for Plaintiffs Moore, Tagai, Hopper, and Hassen’s state

             law claims of assault, battery, false imprisonment, and intentional infliction of

             emotional distress;

             N.      Costs of suit herein;

             O.      Applicable interest on the foregoing amounts;

             P.      Declaratory relief; and

             Q.      Such other and further relief as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

             Plaintiff respectfully demands a trial by jury for all issues so triable in this action.

    Dated: New York, New York
           November 11, 2019

                                                    By: /s/ John G. Balestriere
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